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                    Exhibit A
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Date                  Timekeeper Name       Amount       Hours   Task Code   Narrative
10/17/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7          Conf w/client re information for petition.
10/17/2018            MASTRANGELO, ANGELA   $325.00      1       B7          Draft, revise and finalize bankruptcy forms for filing.
10/17/2018            VAGNONI, MICHAEL D.   $142.50      0.3     B15         Telephone call to state court counsel re: sequestration and meeting with judgment creditor.
10/17/2018            VAGNONI, MICHAEL D.   $1,235.00    2.6     B7          Prepare for and attend meeting with client re: bankruptcy filing.
10/17/2018            SANDOVAL, ALICIA M.   $240.00      0.8     B7          Reviewed Philadelphia dockets; correspondence to Gary Seitz
10/17/2018            SANDOVAL, ALICIA M.   $390.00      1.3     B7          Drafted suggestions of bankruptcy for Philadelphia cases
10/17/2018            SANDOVAL, ALICIA M.   $30.00       0.1     B7          Email to Gary Seitz
                                                                             Confer with Michael Vagnoni re: rent sequestration and filing of petition; review court order on
10/17/2018            GEORGE, EDMOND M.     $160.00      0.4     B6          sequestration motion, discuss with Michael Vagnoni.
10/17/2018            GEORGE, EDMOND M.     $120.00      0.3     B7          Review first day filings with Michael Vagnoni, discuss small business case.
10/17/2018            MASTRANGELO, ANGELA   $585.00      1.8     B11         Draft and finalize attorney disclosures, and application to employ.
10/17/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B7          Draft/revise letter to Gary Seitz re: sequestrator order.
10/17/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Draft/revise email to client are filing and suggestions or bankruptcy.
10/17/2018            VAGNONI, MICHAEL D.   $280.00      0.8     B7          Meeting with Angela L. Baglanzis re: filings.
10/17/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B20         Review and revise 2016 statement.
10/17/2018            VAGNONI, MICHAEL D.   $210.00      0.6     B7          Meeting with Alicia Sandoval re: suggestions of bankruptcy; notice to Gary Seitz.
10/17/2018            VAGNONI, MICHAEL D.   $175.00      0.5     B20         Review/revise application to employ.
10/17/2018            MASTRANGELO, ANGELA   $552.50      1.7     B20         Review emails and documents from client re schedules.
10/17/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20         Email client re list of documents needed.
10/18/2018            MASTRANGELO, ANGELA   $65.00       0.2     B11         Finalize fee application.
10/18/2018            MASTRANGELO, ANGELA   $65.00       0.2     B20         Review documents and information needed from client.
10/18/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B11         Telephone call to United States Trustee regarding application to employ.
10/18/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Telephone call to Anne Whitcomb regarding status.
10/18/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B15         Review IDI letter and draft/revise email to client regarding preparation.
10/19/2018            GEORGE, EDMOND M.     $200.00      0.5     B7          Conference with Michael D. Vagnoni re: first day filings.
10/19/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B7          Review Susan Packer email and telephone call to same regarding status.
10/22/2018            GEORGE, EDMOND M.     $120.00      0.3     B7          Conference with Michael Vagnoni re: small business designation and client plan.
10/22/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B20         Telephone call from United States trustee regarding insurance declarations.

10/22/2018            VAGNONI, MICHAEL D.   $245.00      0.7     B20         Review insurance declaration pages and draft/revise emails to United States trustee regarding same.
10/22/2018            VAGNONI, MICHAEL D.   $210.00      0.6     B20         Meeting with Angela L. Baglanzis regarding schedules.
10/22/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B20         Telephone call to client regarding declaration pages.
                                                                             Review packet from United Sates trustee and draft/revise email to client regarding complying with
10/22/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B15         requirements.
10/23/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B20         Telephone call from client regarding insurance.
10/23/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B20         Correspondence with United States trustee regarding insurance.
10/23/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B20         Discussions with Angela L. Baglanzis regarding schedules.
10/24/2018            SANDOVAL, ALICIA M.   $60.00       0.2     B20         Prepared and filed creditor matrix
10/24/2018            SANDOVAL, ALICIA M.   $60.00       0.2     B20         Revised creditor matrix
                                                                             Review insurance information from client and draft/revise email to United States trustee regarding
10/24/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B20         same.
10/24/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B20         Discuss top twenty list and matrix with Angela L. Baglanzis.
10/24/2018            MASTRANGELO, ANGELA   $97.50       0.3     B20         Emails to and from client re creditor list; conf call with client re same.
10/24/2018            MASTRANGELO, ANGELA   $455.00      1.4     B20         Draft and revise schedules re creditors and finalize top twenty.
10/25/2018            SANDOVAL, ALICIA M.   $180.00      0.6     B20         Drafted motion to extend time to file schedules
10/25/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B5          Telephone call from client regarding budget.
10/29/2018            MASTRANGELO, ANGELA   $260.00      0.8     B20         Review local rules and revise and finalize motion to extend time to file schedules.
10/29/2018            MASTRANGELO, ANGELA   $65.00       0.2     B7          Review status of applications and notices.
10/29/2018            MASTRANGELO, ANGELA   $97.50       0.3     B11         Draft and finalize cno re application to employ.
10/29/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B11         Review docket and draft/revise certificate of no objection regarding application to employ.
10/30/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B7          Telephone call from Kim Boyer regarding appeal.
10/30/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Telephone call to client regarding status.
10/31/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Telephone call to client regarding status.
11/1/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B15         Telephone call to United States Trustee regarding IDI.
11/1/2018             VAGNONI, MICHAEL D.   $105.00      0.3     B15         Telephone call to client regarding IDI.
11/1/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B15         Draft/revise email to victor Maia regarding IDI; required documents.
11/1/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B20         Draft/revise email to United States Trustee regarding debtor in possession account.
11/2/2018             MASTRANGELO, ANGELA   $32.50       0.1     B20         Follow up with client re information for schedules.
11/2/2018             MASTRANGELO, ANGELA   $32.50       0.1     B20         Email to client re balance sheets.
11/2/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B20         Draft/revise email to client regarding department of revenue notice.
11/2/2018             VAGNONI, MICHAEL D.   $140.00      0.4     B20         Telephone call to client regarding schedules.
11/5/2018             VAGNONI, MICHAEL D.   $140.00      0.4     B7          Telephone call to Kim Boyer regarding appeals and appointment as special counsel.
11/6/2018             MASTRANGELO, ANGELA   $32.50       0.1     B8          Review proof of claim.
11/7/2018             MASTRANGELO, ANGELA   $65.00       0.2     B15         Prepare of documents for initial debtor interview.
11/7/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B15         Telephone call to client regarding documents for IDI.
11/7/2018             VAGNONI, MICHAEL D.   $105.00      0.3     B15         Telephone call to client regarding IDI.
11/7/2018             MASTRANGELO, ANGELA   $32.50       0.1     B8          Review proof of claim.
11/7/2018             MASTRANGELO, ANGELA   $97.50       0.3     B20         Review items needed for filing schedules and documents.




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11/8/2018             GEORGE, EDMOND M.     $120.00      0.3     B15       Confer with Michael Vagnoni re: strategy and pan terms talking to client about debtor interview.
11/8/2018             BARNES, D A.          $350.00      1       B7        Review bankruptcy documents.
11/8/2018             BARNES, D A.          $525.00      1.5     B11       Draft motion to appoint special counsel.
11/8/2018             VAGNONI, MICHAEL D.   $665.00      1.9     B15       Prepare for and attend initial debtor interview.
11/8/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B7        Review list of needed documents and discuss with Angela L. Baglanzis.
11/8/2018             MASTRANGELO, ANGELA   $65.00       0.2     B7        Email to client re outstanding items.
11/9/2018             BARNES, D A.          $1,470.00    4.2     B14       Research re: application of automatic stay to Debtor litigation.
11/9/2018             BARNES, D A.          $175.00      0.5     B14       Draft memo to Michael Vagnoni re: application for automatic stay to appeal.
11/9/2018             VAGNONI, MICHAEL D.   $105.00      0.3     B11       Review/revise application to employ special counsel.
11/9/2018             VAGNONI, MICHAEL D.   $105.00      0.3     B14       Review email from D. Alexander Barnes regarding automatic stay and discuss appeal.
11/9/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B14       Draft/revise email to Marshall Dennehy regarding appeal.
11/9/2018             MASTRANGELO, ANGELA   $32.50       0.1     B20       Email from client re status of information for schedules.
11/12/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20       Conf w/client re schedules.
11/12/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20       Email from and to client re information for schedules.
11/12/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B20       Telephone call from client regarding schedules; status.
11/13/2018            MASTRANGELO, ANGELA   $1,040.00    3.2     B20       Review client documents and prepare schedules.
11/13/2018            MASTRANGELO, ANGELA   $682.50      2.1     B20       Review documents from client and prepare schedules and statement of financial affairs.
11/13/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B20       Discuss schedules with Angela L. Baglanzis.
11/13/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B11       Meeting with D. Alexander Barnes regarding application to employ and motion for relief.
11/13/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7        Telephone call from Wells Fargo regarding status.
11/13/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B14       Emails to Marshall Dennehey regarding appeals.
11/14/2018            MASTRANGELO, ANGELA   $812.50      2.5     B20       Review additional information and revise schedules.
11/14/2018            MASTRANGELO, ANGELA   $32.50       0.1     B14       Email from special counsel re appeal documents.
11/14/2018            MASTRANGELO, ANGELA   $682.50      2.1     B20       Conf call w/client re information for schedules.
11/14/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7        Revise motion for an extension of time.
11/14/2018            SANDOVAL, ALICIA M.   $150.00      0.5     B20       Drafted and filed 2nd motion for extension of time to file schedules
11/14/2018            BARNES, D A.          $105.00      0.3     B14       Review correspondence from Special Counsel re: fee application and suggestion of Banker.
11/14/2018            VAGNONI, MICHAEL D.   $455.00      1.3     B20       Review statements and schedules and discuss with Angela L. Baglanzis and client.
11/15/2018            VAGNONI, MICHAEL D.   $210.00      0.6     B20       Review/revise schedules and statement of financial affairs.
11/15/2018            MASTRANGELO, ANGELA   $1,592.50    4.9     B20       Revise schedules and related documents; email same to client for comments.
11/16/2018            SANDOVAL, ALICIA M.   $120.00      0.4     B20       Revised motion to extend time to file schedule a/b

11/16/2018            GEORGE, EDMOND M.     $200.00      0.5     B20       Meeting with Michael Vagnoni re: needed values; conference with client re: schedules and values.
11/16/2018            BARNES, D A.          $175.00      0.5     B11       Revise Motion to Appoint Special counsel.
11/16/2018            BARNES, D A.          $70.00       0.2     B7        Draft suggestion of bankruptcy for Wilson.
11/16/2018            BARNES, D A.          $70.00       0.2     B7        Draft suggestion of bankruptcy for Patterson.
11/16/2018            BARNES, D A.          $70.00       0.2     B7        Draft suggestion of bankruptcy for Nobles.
11/16/2018            BARNES, D A.          $70.00       0.2     B14       Correspondence to Kim Boyer re: superior court appeal.
11/16/2018            VAGNONI, MICHAEL D.   $315.00      0.9     B20       Conference with Angela L. Baglanzis and review schedules.
11/16/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B17       Meeting with Edmond M. George regarding plan.
11/16/2018            MASTRANGELO, ANGELA   $227.50      0.7     B20       Conf w/client re revisions to schedules.
11/16/2018            MASTRANGELO, ANGELA   $162.50      0.5     B20       Conf w/MDV re schedules.
11/16/2018            MASTRANGELO, ANGELA   $65.00       0.2     B20       Emails to and from client re information for schedules.
11/16/2018            MASTRANGELO, ANGELA   $162.50      0.5     B20       Draft motion to extend deadline to file schedules.
11/16/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20       Conf w/AS re motion to extend time; email re same.
11/16/2018            MASTRANGELO, ANGELA   $1,202.50    3.7     B20       Revise schedules and related documents; incorporate client's comments.
11/16/2018            MASTRANGELO, ANGELA   $162.50      0.5     B20       Conf w/client and finalize schedules and related documents.
11/19/2018            GEORGE, EDMOND M.     $160.00      0.4     B18       Confer with Michael Vagnoni re: valuing of the client's real estate.
11/19/2018            MASTRANGELO, ANGELA   $97.50       0.3     B20       Email from client re information for schedules; email to client re same.
11/19/2018            MASTRANGELO, ANGELA   $195.00      0.6     B18       Review property information.
11/19/2018            MASTRANGELO, ANGELA   $325.00      1       B20       Review revised schedules and conf w/client re same.
11/19/2018            MASTRANGELO, ANGELA   $32.50       0.1     B8        Review POC.
11/19/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7        Review NOA.
11/19/2018            MASTRANGELO, ANGELA   $97.50       0.3     B20       Conf w/MDV re revisions to schedules and amended schedules.
11/20/2018            SANDOVAL, ALICIA M.   $180.00      0.6     B14       Drafted and filed suggestion of bankruptcy in Bucks County case
11/20/2018            SANDOVAL, ALICIA M.   $60.00       0.2     B7        Revised suggestion of bankruptcy for Bucks County
11/20/2018            MASTRANGELO, ANGELA   $65.00       0.2     B20       Conf w/MDV re revised schedules.
11/20/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20       Call from court re schedules and declaration.
                                                                           Revise suggestion of bankruptcy for Nicholas Wilson & Patterson appeal; correspondence to Kim
11/20/2018            BARNES, D A.          $105.00      0.3     B14       Boyer re: same.
11/21/2018            MASTRANGELO, ANGELA   $292.50      0.9     B20       Review schedules.
11/21/2018            MASTRANGELO, ANGELA   $162.50      0.5     B7        Conf w/client.
11/21/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20       Email to and from client re revised schedules.
11/21/2018            MASTRANGELO, ANGELA   $390.00      1.2     B20       Finalize Schedules A/B, D, Summary of Assets, and Declaration; email to client re filing.
11/21/2018            VAGNONI, MICHAEL D.   $140.00      0.4     B20       Review amended schedules; discuss with Angela L. Baglanzis.
11/26/2018            MASTRANGELO, ANGELA   $65.00       0.2     B8        Review IRS POC.
11/28/2018            MASTRANGELO, ANGELA   $227.50      0.7     B15       Conf w/client re 341 meeting.
11/28/2018            MASTRANGELO, ANGELA   $65.00       0.2     B15       Prep for 341 meeting.



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11/28/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7          Conf w/UST re Agreed Upon Order.
11/28/2018            VAGNONI, MICHAEL D.   $210.00      0.6     B15         Conference with client regarding meeting of creditors.
11/28/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B7          Review and discuss scheduling order with George Conway.
11/29/2018            MASTRANGELO, ANGELA   $32.50       0.1     B15         Conf w/MDV re 341 meeting.
11/29/2018            MASTRANGELO, ANGELA   $162.50      0.5     B21         Prepare 2017 tax return for UST.
11/29/2018            VAGNONI, MICHAEL D.   $630.00      1.8     B15         Prepare for and attend 341 meeting of creditors.
11/30/2018            MASTRANGELO, ANGELA   $97.50       0.3     B20         Draft list of equity security holders.
11/30/2018            MASTRANGELO, ANGELA   $162.50      0.5     B20         Draft statement pursuant to 11:116(B).
11/30/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7          Email to client re filings.
11/30/2018            MASTRANGELO, ANGELA   $1,462.50    4.5     B14         Draft and finalize motion to reconsider and motion to reopen.
11/30/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7          Conf w/MDV re status and various motions.
11/30/2018            GEORGE, EDMOND M.     $200.00      0.5     B21         Conference with Michael Vagnoni re: filings and issues with tax returns.
                                                                             Receipt and review of correspondence from Marshall Dennehey re: appeal representation; revise
11/30/2018            BARNES, D A.          $350.00      1       B11         application to employ special counsel.
11/30/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Draft/revise email to Angela L. Baglanzis and D. Alexander Barnes regarding strategy.
12/1/2018             MASTRANGELO, ANGELA   $32.50       0.1     B20         Email from and to client re bankruptcy forms.
                                                                             Submit finalized Statement Pursuant to 11:116(b); tax returns, and list of equity shareholders to
12/1/2018             MASTRANGELO, ANGELA   $162.50      0.5     B21         court.
12/2/2018             MASTRANGELO, ANGELA   $325.00      1       B21         Review and redact tax returns for 2016 and 2015.
12/3/2018             MASTRANGELO, ANGELA   $32.50       0.1     B21         Email to UST re: tax information.
                                                                             Confer with Michael Vagnoni and Al Ciardi re: expedited order; revise and finalize notice; prepare list
12/3/2018             MASTRANGELO, ANGELA   $325.00      1       B7          for service.
12/4/2018             VAGNONI, MICHAEL D.   $70.00       0.2     B7          Review and respond to email from client regarding status of motion; claims.
12/5/2018             MORACA, VANJA         $99.00       1.1     B7          Conference Angela re: matter and Insurance Declarations;
12/6/2018             MASTRANGELO, ANGELA   $97.50       0.3     B7          Review insurance information for Wells Fargo; email to/from client re: same.
12/7/2018             MASTRANGELO, ANGELA   $650.00      2       B7          Draft motion to reconsider dismissal order.
12/8/2018             MASTRANGELO, ANGELA   $32.50       0.1     B20         Email from client re: small business forms.
12/8/2018             MASTRANGELO, ANGELA   $130.00      0.4     B20         Finalize small business forms.
                                                                             Conference Angela, Prepare Certificate of Service and E-File same. Download time stamped copies
12/10/2018            MORACA, VANJA         $18.00       0.2     B7          and save to ND system.
12/10/2018            MASTRANGELO, ANGELA   $65.00       0.2     B7          Finalize Certificate of Service re order granting expedited relief.
12/11/2018            BARNES, D A.          $140.00      0.4     B11         Revise Application to Appoint Special counsel.
12/11/2018            BARNES, D A.          $35.00       0.1     B11         Correspondence to K. Boyer re: special counsel application.
12/11/2018            BARNES, D A.          $770.00      2.2     B19         Research re: automatic stay issues re: debtor's appeal.
12/11/2018            BARNES, D A.          $560.00      1.6     B19         Draft motion for review from the automatic stay.
12/11/2018            BARNES, D A.          $70.00       0.2     B7          Correspondence to K. Boyer re: affidavit.
12/11/2018            MASTRANGELO, ANGELA   $487.50      1.5     B14         Prepare for and attend hearing on motion to reinstate case.
                                                                             Conference Angela re: Application to Employ Accountant, search ND, print and given to Angela for
12/12/2018            MORACA, VANJA         $18.00       0.2     B11         revisions;
12/12/2018            MORACA, VANJA         $18.00       0.2     B11         Conference Angela re: Application to Employ Accountant and revisions;
12/12/2018            BARNES, D A.          $630.00      1.8     B19         Research re: automatic stay issues.
12/12/2018            MASTRANGELO, ANGELA   $32.50       0.1     B20         Emails to client re: MORs.
12/13/2018            BARNES, D A.          $280.00      0.8     B7          Review state court judgment and opinion.
12/13/2018            BARNES, D A.          $525.00      1.5     B19         Draft Motion for Relief.
12/14/2018            MORACA, VANJA         $54.00       0.6     B11         Additional revisions to Notice of Application to Employ Bennett, print for Angela's review.
12/14/2018            BARNES, D A.          $945.00      2.7     B19         Research re: automatic stay issues.
12/14/2018            MASTRANGELO, ANGELA   $130.00      0.4     B20         Review reporting requirements; email to client re: same.
12/17/2018            MORACA, VANJA         $45.00       0.5     B11         Additional revisions to Notice of Application. Forward to Angela for review.
12/17/2018            BARNES, D A.          $1,120.00    3.2     B19         Research re: automatic stay issues re: state court appeal; draft/revise motion for relief.
                                                                             Review Dept of Revenue proof of claim; review notice of application of Wells Fargo; confer with
12/17/2018            MASTRANGELO, ANGELA   $97.50       0.3     B8          Michael Vagnoni re: Sheriff Sale.
12/17/2018            MASTRANGELO, ANGELA   $130.00      0.4     B7          Review notice of Sheriff Sale; draft and finalize letter re: same.

12/17/2018            VAGNONI, MICHAEL D.   $70.00       0.2     B7          Review and respond to email from client regarding Sheriif Sale and discuss with Angela L. Baglanzis.
12/18/2018            MASTRANGELO, ANGELA   $32.50       0.1     B7          Email to client re: same.
12/18/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B14         Review order reinstating case and discuss sheriff sale stay with Angela L. Baglanzis.
12/18/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B7          Telephone call from Gregg Fox regarding status.

12/19/2018            MORACA, VANJA         $18.00       0.2     B8          Conference MDV re: Proof of Claim filed by IRS, download and forward same to client via email.
12/19/2018            BARNES, D A.          $1,050.00    3       B19         Draft Motion/ or Relief; RS re: automatic stay issues.
12/19/2018            VAGNONI, MICHAEL D.   $105.00      0.3     B14         Telephone call from Marshall Dennehey regarding appeals.
12/19/2018            VAGNONI, MICHAEL D.   $35.00       0.1     B8          Review IRS proof of claim and direct Vanja Moraca to send to client.
12/19/2018            MASTRANGELO, ANGELA   $32.50       0.1     B8          Review IRS POC.
12/19/2018            MASTRANGELO, ANGELA   $65.00       0.2     B11         Review and revise application to employ accountant.
12/19/2018            MASTRANGELO, ANGELA   $32.50       0.1     B11         Email application to client.
12/19/2018            MASTRANGELO, ANGELA   $65.00       0.2     B20         Conf w/client re MORs.
12/19/2018            MASTRANGELO, ANGELA   $487.50      1.5     B20         Review information and assist client re MORs.
                                                                             Conference Angela re: Wells Fargo Insurance declarations, review and receive additional documents
12/20/2018            MORACA, VANJA         $27.00       0.3     B7          from Angela/ conference Joann re: sending same to Wells Fargo.



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12/20/2018            VAGNONI, MICHAEL D.   $105.00    0.3     B20         Review monthly operating reports with Angela L. Baglanzis.
12/20/2018            MASTRANGELO, ANGELA   $130.00    0.4     B20         Review MORs; emails to and from client re same.
12/20/2018            MASTRANGELO, ANGELA   $130.00    0.4     B7          Draft and finalize ltrs to Wells Fargo re insurance coverage.
12/21/2018            MASTRANGELO, ANGELA   $97.50     0.3     B20         Conf w/client re MORs.
12/21/2018            MASTRANGELO, ANGELA   $65.00     0.2     B20         Review revised MORs.
                                                                           Call Sherrif of Philadelphia re: Property invoice. Conference Michael re: same and email Angela re:
12/26/2018            MORACA, VANJA         $27.00     0.3     B18         same/
12/26/2018            VAGNONI, MICHAEL D.   $70.00     0.2     B8          Review tax proof of claim and draft/revise email to Angela L. Baglanzis regarding same.
                                                                           Receive and review email from MDV and save and print encrypted email communication re: request
12/28/2018            MORACA, VANJA         $18.00     0.2     B18         for permission to secure real property;
                                                                           Telephone conference sheriff's office re: invoice and unused proceeds, leave a VM to real estate
12/31/2018            MORACA, VANJA         $9.00      0.1     B18         department.
12/31/2018            MASTRANGELO, ANGELA   $32.50     0.1     B18         Follow up re Sheriff invoices.
12/31/2018            MASTRANGELO, ANGELA   $32.50     0.1     B7          Review Wells NOA.
1/2/2019              BARNES, D A.          $420.00    1.2     B19         Research re: automatic stay issues on appeal
1/2/2019              BARNES, D A.          $630.00    1.8     B19         Draft /Revise Motion for Relief.
1/3/2019              MASTRANGELO, ANGELA   $65.00     0.2     B8          Review City of Philadelphia POC.
1/3/2019              MASTRANGELO, ANGELA   $32.50     0.1     B8          Email to client re City of Philadelphia POC.
                                                                           Conference Angela re: Motion of Defendants for an Extension of Time to Respond to Summary
1/3/2019              MORACA, VANJA         $45.00     0.5     B14         Judgment, extract pages and prepare Exhibits, convert and E-file same.
1/3/2019              MASTRANGELO, ANGELA   $32.50     0.1     B18         Conf w/Sheriff's office.
1/3/2019              MASTRANGELO, ANGELA   $32.50     0.1     B18         Review forms from Sheriff and email to client.
1/3/2019              MASTRANGELO, ANGELA   $32.50     0.1     B11         Email to and from accountant re application to employ.
1/3/2019              MASTRANGELO, ANGELA   $97.50     0.3     B11         Revise application to employ accountants.
1/3/2019              MASTRANGELO, ANGELA   $65.00     0.2     B8          Review POC; email same to client.
1/3/2019              BARNES, D A.          $280.00    0.8     B20         Review/revise MRAS.
1/4/2019              BARNES, D A.          $350.00    1       B20         Revise MRAs.
                                                                           Email Victor Maia re: Sheriffs forms, Conference Helen re: same. Revise and send to sheriff via regular
1/8/2019              MORACA, VANJA         $54.00     0.6     B18         mail.
1/8/2019              MORACA, VANJA         $45.00     0.5     B11         Revision to Applications to Employ Accountant, forward to Bennett via email for approval.
1/11/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20         Email from and to client re MORs and Sheriff funds.
1/11/2019             MASTRANGELO, ANGELA   $32.50     0.1     B11         Follow up on accountant fee application.

1/11/2019             MASTRANGELO, ANGELA   $97.50     0.3     B18         Review correspondence from Wells Fargo re insurance, flood insurance, and property inspection.
1/11/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Email to client re additional insurance information for Wells Fargo.
                                                                           Conference Angela re: Application to employ accountant Bennett Sady, revise and prepare for filing. E-
1/15/2019             MORACA, VANJA         $45.00     0.5     B11         file same.
1/15/2019             MASTRANGELO, ANGELA   $32.50     0.1     B11         Review finalize application to employ accountants; conf w/VM re same.
1/15/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Review notices from Wells Fargo re inspections.
1/15/2019             BARNES, D A.          $280.00    0.8     B11         Review/Revise Application to employ special counsel; Revise.
1/16/2019             BARNES, D A.          $175.00    0.5     B14         Correspondence from B. Remick re: continued representation in appeals.
1/16/2019             BARNES, D A.          $35.00     0.1     B14         Conference MDV re: representation in appeals.
1/16/2019             BARNES, D A.          $70.00     0.2     B11         Correspondence to B. Remick re: professional fees.
1/16/2019             BARNES, D A.          $35.00     0.1     B14         Correspondence from MDV to V. Maia re: appeal.
                                                                           Receive and review secure email and attachments from Wells Fargo, download and save for file,
1/16/2019             MORACA, VANJA         $18.00     0.2     B18         forward to Angela for review.
                                                                           Review email from Marshall Dennehey regarding appellate role and draft/revise email to client
1/16/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B14         regarding status; meeting.

1/17/2019             MORACA, VANJA         $27.00     0.3     B7          Conference Angela re: response deadline, calendar same and email opposing counsel re: extension.
1/17/2019             BARNES, D A.          $70.00     0.2     B14         Correspondence with B. Remick re: appeal representation.
1/17/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B19         Review Wells Fargo motions for relief and discuss with A. Baglanzis.
                                                                           Conf w/counsel re Motion for Relief, and adjournment of response; review email confirmation re
1/17/2019             MASTRANGELO, ANGELA   $162.50    0.5     B19         same.
1/22/2019             MORACA, VANJA         $54.00     0.6     B8          Conference Angela, review claim schedule and print all for client meeting.
1/22/2019             MASTRANGELO, ANGELA   $910.00    2.8     B7          Mtg w/client re Motions for Relief, POCs, Sherif Invoices, Appeal, Plan process.
1/22/2019             MASTRANGELO, ANGELA   $422.50    1.3     B7          Prepare for mtg with client.
1/22/2019             GEORGE, EDMOND M.     $320.00    0.8     B7          Client meeting.
1/22/2019             VAGNONI, MICHAEL D.   $840.00    2.4     B7          Prepare for and attend meeting with client re: status.
1/22/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Review Insurance declaration.
1/22/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20         Review Dec MOR.
1/22/2019             MASTRANGELO, ANGELA   $162.50    0.5     B20         Review exhibits for Initial Report.
1/22/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20         Review November MOR, and prepare exhibits.
1/23/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Review preservation request.
1/23/2019             MASTRANGELO, ANGELA   $162.50    0.5     B8          Draft motion to set bar date.
                                                                           Conference Angela, scan and redact Monthly Operating Reports October, November and December
1/24/2019             MORACA, VANJA         $54.00     0.6     B20         2018 and E-file same, save time tamped copies for file.
1/24/2019             MASTRANGELO, ANGELA   $130.00    0.4     B18         Conf w/counsel to Wells re Motion for Relief and payment plan; conf w/DMV re same.
1/24/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20         Finalize Initial, November and December MORs.



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1/24/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20         Conf w/MDV re same.
1/24/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20         Conf w/VM re filing.
1/28/2019             MORACA, VANJA         $9.00      0.1     B14         Review court notice re: adversary complaint and summons save and print for file.
                                                                           Call sheriff re: hand delivery, draft form and scan enclosed documents. Prepare copies of same and
1/28/2019             MORACA, VANJA         $45.00     0.5     B14         conference mail room re: delivery.
1/28/2019             MORACA, VANJA         $9.00      0.1     B14         Review adversary ECF Notice re: summons, save and calendar response deadline.
1/28/2019             MASTRANGELO, ANGELA   $227.50    0.7     B14         Review complaint; review properties; emails to and from client.

1/28/2019             GEORGE, EDMOND M.     $120.00    0.3     B18         Phone counsel to Wells Fargo re: defaulted payments on three properties; conference AB re: same.
1/28/2019             VAGNONI, MICHAEL D.   $315.00    0.9     B14         Review Nobles Complaint and discuss with A. Baglanzis.
1/28/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B14         Review adversary proceeding filed by plaintiff.
1/29/2019             MASTRANGELO, ANGELA   $97.50     0.3     B21         Review tax returns; conf w/MDV and client re dischargeability complaint.
1/29/2019             VAGNONI, MICHAEL D.   $280.00    0.8     B7          Meeting with A. Baglanzis re: status and conference with client re: same.
1/29/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Proof of Wells Fargo Payments.
1/29/2019             MASTRANGELO, ANGELA   $65.00     0.2     B18         Review information regarding parents properties.
                                                                           Conference Angela, draft Certificate of No Response to Employ Bennett Sady & Company, P.C. Given
1/30/2019             MORACA, VANJA         $54.00     0.6     B11         to Angela to review and edit, finalize.
1/30/2019             MASTRANGELO, ANGELA   $227.50    0.7     B8          Draft motion to set bar date.
1/30/2019             MASTRANGELO, ANGELA   $32.50     0.1     B11         Follow up on application to employ accountant.
1/30/2019             MASTRANGELO, ANGELA   $32.50     0.1     B11         Conf w/VM re CNO.
                                                                           Review court notice re: Order granting B. Sady Accountant, save and forward copy to Sady via email,
1/31/2019             MORACA, VANJA         $9.00      0.1     B11         and regular mail to Office of the United States Trustee.
2/1/2019              MASTRANGELO, ANGELA   $97.50     0.3     B19         Call to counsel re motions for relief from stay; email to and from re same.
2/1/2019              MASTRANGELO, ANGELA   $32.50     0.1     B19         Conf w/MD re motion for relief.
                                                                           Conference Angela re: Motion for Relief from Stay filed by Wells Fargo Bank for property 1932 Church
2/4/2019              MORACA, VANJA         $63.00     0.7     B19         Street, review docket and Amended Notices.
                                                                           Conference Angela re: Motion for Relief from Stay filed by Wells Fargo Bank for property 5041 Valley
2/4/2019              MORACA, VANJA         $63.00     0.7     B19         Street; review docket and Amended Notices.
                                                                           Conference Angela re: Additional edits to Motion for Relief from Stay filed by Wells Fargo Bank for
2/4/2019              MORACA, VANJA         $27.00     0.3     B19         property 5041 Valley Street; finalize and E-file same.
                                                                           Conference Angela re: Additional edits to Motion for Relief from Stay filed by Wells Fargo Bank for
2/4/2019              MORACA, VANJA         $27.00     0.3     B19         property Church Street; finalize and E-file same.
2/4/2019              MASTRANGELO, ANGELA   $617.50    1.9     B19         Draft, revise and finalize response to Motion for Relief - 5041 Valley St.
2/4/2019              MASTRANGELO, ANGELA   $617.50    1.9     B19         Draft, revise and finalize response to Motion for Relief - 1932 Chustnut St.
2/4/2019              MASTRANGELO, ANGELA   $65.00     0.2     B19         Conf w/MDV re responses to Mot for Relief.
2/4/2019              MASTRANGELO, ANGELA   $65.00     0.2     B19         Call to and from counsel re responses to Motions for Relief.
2/4/2019              MASTRANGELO, ANGELA   $97.50     0.3     B19         Review stipulations resolving Motions for Relief.
2/5/2019              SANDOVAL, ALICIA M.   $180.00    0.6     B8          Reviewed and revised motion to set bar dates
                                                                           Review email from Angela re: Motion to set last day to file POC, convert and prepare for filing. Login
2/6/2019              MORACA, VANJA         $54.00     0.6     B8          to PA Bankrupcy ECF and E-File same.
2/6/2019              MASTRANGELO, ANGELA   $65.00     0.2     B8          Finalize Mot to Set Bar date; conf w/VM re same.
2/6/2019              MASTRANGELO, ANGELA   $32.50     0.1     B7          Conf w/MDV re PNC bank.
2/6/2019              MASTRANGELO, ANGELA   $97.50     0.3     B8          Conf w/VM re Notice of Bar Date.
                                                                           Review Court's notice re: Order Establishing Bar Dates for Filing Proofs of Claim , save to ND and
2/8/2019              MORACA, VANJA         $9.00      0.1     B8          calendar deadlines.
2/8/2019              MASTRANGELO, ANGELA   $97.50     0.3     B7          Email from and to counsel re stipulations.
                                                                           Conference Angela Baglanzis, draft Certificate of Service for Order establishing Bar dates for filing
2/11/2019             MORACA, VANJA         $45.00     0.5     B8          POC, login to PA ECF and E-file same.
2/11/2019             MASTRANGELO, ANGELA   $65.00     0.2     B18         Blackline stipulation re Church Street.
2/11/2019             MASTRANGELO, ANGELA   $65.00     0.2     B18         Blackline stipulation re Valley Street.
2/11/2019             MASTRANGELO, ANGELA   $32.50     0.1     B8          Review Seitz POC.
2/11/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Email from and to counsel to Wells Fargo.
2/12/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B7          Review proposed stipulations and email from A. Baglanzis re: Wells Fargo.
2/12/2019             MASTRANGELO, ANGELA   $325.00    1       B18         Review and revise draft stipulations for Valley and Church street properties.
2/12/2019             MASTRANGELO, ANGELA   $162.50    0.5     B7          Emails to and from counsel re issues with applied payments.
2/12/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20         Emails to and from client re MORs and payment to UST.
2/14/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Email from Wells Fargo re payment history.
2/15/2019             MASTRANGELO, ANGELA   $65.00     0.2     B19         Email to Wells Fargo counsel re stipulation resolving relief from stay.
2/15/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Conf w/MDV re exclusivity.
2/15/2019             VAGNONI, MICHAEL D.   $70.00     0.2     B7          Telephone call from A. Baglznzis re: exclusivity.
2/20/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Review correspondence from new mortgage company.
2/20/2019             MASTRANGELO, ANGELA   $130.00    0.4     B7          Draft and finalize ltr to mortgage company re bankruptcy filing.
2/20/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Email to client re payments and additional sale information.
                                                                           Conference M. Vagnoni and Angela Banglazis re: address change for service, telephone conference
2/21/2019             MORACA, VANJA         $45.00     0.5     B7          Susan / Library re: researching same and forward email to Susan re: info.
2/21/2019             POSTERNOCK, SUSAN     $45.00     0.5     B7          Searching for requested contact information (for V. Moraca).
2/21/2019             MASTRANGELO, ANGELA   $65.00     0.2     B8          Review POC.
2/21/2019             MASTRANGELO, ANGELA   $32.50     0.1     B8          Email to client re same.
2/21/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Conf w/VM re former tenants; emails re same.



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2/21/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B14       Review complaint and address change.
                                                                         Conference Angela Banglazis re:change of address for creditors, and call bankruptcy court re:
2/22/2019             MORACA, VANJA         $9.00      0.1     B20       updating information on matrix.

                                                                           Review email from Angela Banglazis re: updating creditors information/ matrix, telephone conference
2/26/2019             MORACA, VANJA         $54.00     0.6     B20         clerk of court, sign in to PA ECF Bankruptcy and update creditors information, review matrix.
2/26/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20         Conf w/VM re new creditor and matrix.
2/26/2019             MASTRANGELO, ANGELA   $162.50    0.5     B7          Research sheriff's escrow funds.
2/26/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/client re MORs, Adversary, Sheriff's funds, and unclaimed funds, and new litigation.
2/26/2019             MASTRANGELO, ANGELA   $32.50     0.1     B8          Review IRS amended POC.
2/26/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/client re outstanding issues re sheriff, state court litigaiton, MORs.
                                                                           Conference Angela Banglazis re : Stipulation, review email from opposing counsel and prepare for
                                                                           filing call court re: same, and Login to Bankruptcy Court and E-file same. Update calendar re:
2/27/2019             MORACA, VANJA         $45.00     0.5     B14         response to Complaint deadline.
2/27/2019             MASTRANGELO, ANGELA   $32.50     0.1     B14         Email to client re state court litigation.
2/27/2019             MASTRANGELO, ANGELA   $162.50    0.5     B14         Conf w/MDV re state court litigation, adversary, father's properties, title reports, sheriff.
2/27/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20         Review MOR, email from and to client re same; conf w/client re same.
                                                                           Nobles - draft and finalize stipulation to extend time to respond to complaint; email to and from
2/27/2019             MASTRANGELO, ANGELA   $130.00    0.4     B14         counsel re same.
2/27/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B7          Telephone call to M. Pfeiffer re: status; extension.
                                                                           Review email from Angela Banglazis re: Operating Report, redact all account numbers, print for
2/28/2019             MORACA, VANJA         $54.00     0.6     B20         review. Additional revisions. Login to ECF and E-file same.
                                                                           Conference Angela Baglanzis re: suggestion of bankruptcy filling, draft suggestion of bankruptcy and
2/28/2019             MORACA, VANJA         $90.00     1       B7          certificate of service.
2/28/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Follow up with client payment of 4th quarterly fees.
2/28/2019             MASTRANGELO, ANGELA   $32.50     0.1     B14         Review order extending time to answer complaint.
2/28/2019             MASTRANGELO, ANGELA   $130.00    0.4     B14         Confs w/client re lawsuit and suggestion of bankruptcy; emails re same.
2/28/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20         Finalize January MOR; conf w/VM re same.
2/28/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/VM re suggestion of bankruptcy; revise suggestion of bankruptcy.
                                                                           Review Philadelphia Court of Common Pleas notice re: accepted filing and save for file. Forward copy
3/1/2019              MORACA, VANJA         $27.00     0.3     B14         to client via email, and send copies to opposing counsel via first class mail.
3/1/2019              VAGNONI, MICHAEL D.   $140.00    0.4     B7          Meeting with A. Baglanzis re: status and suggestion of bankruptcy.
3/5/2019              MASTRANGELO, ANGELA   $130.00    0.4     B8          Review POC for Valley and Church Street.
3/5/2019              MASTRANGELO, ANGELA   $162.50    0.5     B7          Ltr to sheriff's office re collection of unclaimed funds.
3/6/2019              MASTRANGELO, ANGELA   $32.50     0.1     B7          Finalize ltr to sheriff.
3/6/2019              MASTRANGELO, ANGELA   $32.50     0.1     B18         Email from and to client re sheriff sale.
3/7/2019              MASTRANGELO, ANGELA   $97.50     0.3     B18         Draft ltr to sheriff re tax sale.
                                                                           Conference Angela re: updating creditors info, login to Bank ECF and update information. Call Court
3/8/2019              MORACA, VANJA         $72.00     0.8     B7          re: same.
                                                                           Email to and from sheriff re release of funds and additional information regarding our representation
3/8/2019              MASTRANGELO, ANGELA   $130.00    0.4     B7          of the debtor.
3/8/2019              MASTRANGELO, ANGELA   $97.50     0.3     B18         Revise and finalize ltr to Sheriff re adjournment of tax sale.
3/11/2019             MASTRANGELO, ANGELA   $97.50     0.3     B8          Email to counsel outstanding issues and POCs re resolution of Motion for Relief.
3/12/2019             MASTRANGELO, ANGELA   $162.50    0.5     B8          Conf w/counsel re withdrawal of motions and POCs; review withdrawals of motion.
3/13/2019             MASTRANGELO, ANGELA   $97.50     0.3     B8          Conf w/counsel to Wells Fargo re payments on Redwood.
                                                                           Email to client re update on Wells Fargo's Motions for Relief; request information for Redwood
3/13/2019             MASTRANGELO, ANGELA   $97.50     0.3     B19         payments.
                                                                           Review returned mail for Diana Wilson, conference AB and MDV re: same. Conference Susan/Library
3/14/2019             MORACA, VANJA         $18.00     0.2     B7          re: further research.
3/14/2019             MORACA, VANJA         $9.00      0.1     B7          Review research report received from library.
                                                                           Draft Certificate of Service for new address /Daina Wilson and E-file same, prepare copies and send
3/15/2019             MORACA, VANJA         $45.00     0.5     B7          first class mail.
3/15/2019             POSTERNOCK, SUSAN     $45.00     0.5     B7          Searching for requested contact information (for V. Moraca).
3/15/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Email from client and review Wells Fargo information.
3/15/2019             MASTRANGELO, ANGELA   $32.50     0.1     B8          Review information re creditor and bar date order.
3/18/2019             MASTRANGELO, ANGELA   $97.50     0.3     B18         Follow up with sheriff sale; email to client re same.
3/18/2019             MASTRANGELO, ANGELA   $292.50    0.9     B8          Review POC re 79 Redwood; review payment history from client; email to client re same.
                                                                           Conference Angela re: Philadelphia Court of Common Pleas case docket, review and print for Angela's
3/19/2019             MORACA, VANJA         $9.00      0.1     B14         review.
3/19/2019             MASTRANGELO, ANGELA   $715.00    2.2     B18         Draft ltr to counsel detailing properties and dismissal of adversary complaint.
3/19/2019             MASTRANGELO, ANGELA   $162.50    0.5     B17         Prepare information for plan and disclosure statement.
3/20/2019             BROOKS, DONNA C.      $9.00      0.1     B18         Exchange emails with Angela Baglanzis re: tax sale of 4755 Tampa Street.
3/20/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Research sheriff tax sale and new date.
3/21/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Follow up on sheriff tax sale and new date.
                                                                           Review Wells Fargo POC and related information; email to Wells Fargo re status of payment on 79
3/21/2019             MASTRANGELO, ANGELA   $162.50    0.5     B18         Redwood.
3/21/2019             MASTRANGELO, ANGELA   $292.50    0.9     B18         Draft ltr to counsel re ownership of property.
                                                                           Research Sheriff's database for status of tax sale of 4755 Tampa Street; forward the same to Angela
3/21/2019             BROOKS, DONNA C.      $18.00     0.2     B18         Baglanzis.



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Date                  Timekeeper Name       Amount       Hours   Task Code   Narrative
3/22/2019             MASTRANGELO, ANGELA   $1,332.50    4.1     B17         Draft disclosure statement.
3/22/2019             MASTRANGELO, ANGELA   $32.50       0.1     B8          Review IRS amended POC.
3/22/2019             MASTRANGELO, ANGELA   $682.50      2.1     B1          Prepare liquidation analysis.
                                                                             Conf w/MDV re ltr to counsel re ownership of property; conf w/client re same; revise and finalize ltr
3/22/2019             MASTRANGELO, ANGELA   $162.50      0.5     B18         re same;
3/22/2019             VAGNONI, MICHAEL D.   $140.00      0.4     B7          Meeting with A. Baglanzis re: status
3/22/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B20         Review/revise letter to counsel to Plaintiffs re: discharge litigation.
3/25/2019             MASTRANGELO, ANGELA   $877.50      2.7     B1          Cont liquidation analysis; conf w/MDV re same.
3/25/2019             MASTRANGELO, ANGELA   $1,137.50    3.5     B17         Claims analysis re plan and disclosure statement.
3/25/2019             VAGNONI, MICHAEL D.   $140.00      0.4     B1          Meeting with A. Baglanzis to discuss Plan and liquidation analysis.
3/26/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B14         Conference with A. Baglanzis re: adversary proceeding.
3/26/2019             MASTRANGELO, ANGELA   $1,007.50    3.1     B8          Claims analysis and classification of claims; conf w/MDV re same.
3/26/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17         Conf w/UST and MDV re plan and disclosure statement, and adversary proceeding.
3/26/2019             MASTRANGELO, ANGELA   $65.00       0.2     B14         Email from counsel re stipulation to extend time to respond to complaint.
                                                                             Conference Angela re: Stipulation for Extension of time to file response, draft Stipulation and E-file
3/27/2019             MORACA, VANJA         $54.00       0.6     B14         same.
3/27/2019             VAGNONI, MICHAEL D.   $70.00       0.2     B17         Meeting with A. Baglanzis re: status and telephone call to U.S. Trustee re: Plan.
3/27/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B19         Review Wells Fargo motion for relief and discuss with A. Baglanzis.
                                                                             Conf w/VM re stipulation to extend time to answer complaint; emails to and from Mark Pfeiffer re
3/27/2019             MASTRANGELO, ANGELA   $97.50       0.3     B14         same and property ownership.
                                                                             Cont drafting plan documents; emails to and from client re mtg and documents for plan and
3/28/2019             MASTRANGELO, ANGELA   $292.50      0.9     B17         disclosure statement.
                                                                             Review Wells Fargo motion for relief; conf w/EMG re same; email to client re same; conf w/MDV re
3/28/2019             MASTRANGELO, ANGELA   $130.00      0.4     B19         same.
3/28/2019             MASTRANGELO, ANGELA   $32.50       0.1     B1          Conf w/EMG re status of dischargeability litigation.
3/28/2019             MASTRANGELO, ANGELA   $325.00      1       B17         Analysis of code provisions; draft small business plan
3/29/2019             MASTRANGELO, ANGELA   $585.00      1.8     B17         Cont drafting plan of reorganization.
4/2/2019              VAGNONI, MICHAEL D.   $105.00      0.3     B14         Review and respond to email from counsel to Plaintiff in litigation.
4/2/2019              MASTRANGELO, ANGELA   $390.00      1.2     B8          Claims analysis and classes of claims.
4/2/2019              MASTRANGELO, ANGELA   $65.00       0.2     B14         Call from counsel re state court litigation and depositions; email re same.
4/3/2019              MORACA, VANJA         $18.00       0.2     B7          Prepare documents for meeting with client.
4/3/2019              GEORGE, EDMOND M.     $120.00      0.3     B17         Conference M. Vagnoni re: plan and projections, use of proceeds.
                                                                             Prepare for and meet with client re plan and disclosure statement; claims analysis; discussion of
4/3/2019              MASTRANGELO, ANGELA   $1,170.00    3.6     B17         status of matters.
4/3/2019              VAGNONI, MICHAEL D.   $840.00      2.4     B17         Prepare for/attend meeting with client and A. Baglanzis re: Plan.
4/3/2019              MASTRANGELO, ANGELA   $65.00       0.2     B20         Review and finalize MOR.
4/4/2019              VAGNONI, MICHAEL D.   $105.00      0.3     B14         Review email from counsel to Raynor re: depositions and respond re: automatic Stay.
4/4/2019              VAGNONI, MICHAEL D.   $105.00      0.3     B14         Review email from counsel to Raynor re: depositions and respond re: automatic stay.
4/4/2019              MASTRANGELO, ANGELA   $32.50       0.1     B14         Reis litigation - emails re depositions.
4/5/2019              MASTRANGELO, ANGELA   $942.50      2.9     B1          Analysis of assets and business, preparation of 5 year projections.
4/5/2019              MASTRANGELO, ANGELA   $1,007.50    3.1     B1          Analysis of assets; preparation of liquidation analysis.
4/8/2019              MASTRANGELO, ANGELA   $130.00      0.4     B8          Review status of claims information.

4/9/2019              MORACA, VANJA         $27.00       0.3     B20         Review email from Angela re: Monthly Operating Report, review and prepare documents for filing.
4/9/2019              MASTRANGELO, ANGELA   $325.00      1       B19         Research equity cushion and treatment of secured claims for relief from stay.

4/9/2019              MASTRANGELO, ANGELA   $1,982.50    6.1     B19         Draft and revise response to motion for relief from the automatic stay; prepare exhibit re same.
4/9/2019              MASTRANGELO, ANGELA   $65.00       0.2     B18         Review documents regarding fraudulent deed.
4/9/2019              MASTRANGELO, ANGELA   $32.50       0.1     B8          Correspondence with new mortgage company re Bar Date Motion.
4/9/2019              VAGNONI, MICHAEL D.   $70.00       0.2     B14         Telephone call to counsel to plaintiffs re: adversary proceeding.
4/10/2019             MORACA, VANJA         $45.00       0.5     B20         Prepare and E-file February monthly operating report.
                                                                             Conference Angela, prepare Response in Opposition to Wells Fargo Bank Motion for Relief from the
4/10/2019             MORACA, VANJA         $45.00       0.5     B19         Automatic Stay and Exhibit and E-file same.
                                                                             Conference Angela Baglanizis re: preparing Motion/Application for approving small business
4/10/2019             MORACA, VANJA         $45.00       0.5     B17         disclosure statement and law to be included in same.
4/10/2019             MASTRANGELO, ANGELA   $1,592.50    4.9     B17         Draft small business disclosure statement.
4/10/2019             MASTRANGELO, ANGELA   $32.50       0.1     B20         Finalize February MOR.
4/10/2019             MASTRANGELO, ANGELA   $130.00      0.4     B19         Revise and finalize response to motion for relief from the automatic stay.
4/10/2019             MASTRANGELO, ANGELA   $32.50       0.1     B14         Call regarding dischargeability complaint.
                                                                             Conference Angela Baglanzis and draft Motion to Approve small business Disclosure Statement,
4/11/2019             MORACA, VANJA         $117.00      1.3     B17         forward to ALB for review and revisions.
4/11/2019             MORACA, VANJA         $9.00        0.1     B7          Review docket and list of creditors for Motion, forward to ALB.
4/11/2019             MORACA, VANJA         $54.00       0.6     B17         Additional revisions to Motion to Approve small business Disclosure Statement.
4/11/2019             GEORGE, EDMOND M.     $240.00      0.6     B17         Review draft plan of reorganization.
4/11/2019             MASTRANGELO, ANGELA   $1,495.00    4.6     B17         Cont drafting disclosure statement.
4/11/2019             MASTRANGELO, ANGELA   $227.50      0.7     B1          Review and revise liquidation analysis; review projections.
4/11/2019             MASTRANGELO, ANGELA   $162.50      0.5     B1          Conf w/MDV re liquidation analysis and disclosure statement.
4/11/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17         Email to client re disclosure statement.
4/11/2019             MASTRANGELO, ANGELA   $292.50      0.9     B17         Review and revise motion to approve disclosure statement; prepare exhibits to motion.



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4/11/2019             VAGNONI, MICHAEL D.   $280.00      0.8     B17       Review Plan and disclosure Statement and discuss with A. Baglanzis.

4/12/2019             MORACA, VANJA         $18.00       0.2     B17        Review email from ALB re: Motion to Approve Disclosure statement and prepare for service.
4/12/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17        Conf w/Client re disclosure statement and projections.
                                                                            Review, revise, and finalize disclosure statement; conf w/client re revisions and finalizing; revise
4/12/2019             MASTRANGELO, ANGELA   $1,365.00    4.2     B17        projections; revise liquidation.
4/12/2019             MASTRANGELO, ANGELA   $487.50      1.5     B17        Confs w/MDV re same.
4/12/2019             MASTRANGELO, ANGELA   $682.50      2.1     B17        Draft, revise, and finalize plan of reorganization; conf w/client re same.
4/12/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17        Conf w/MDV re same.
4/12/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17        Revise and finalize motion to approve disclosure statement.
4/12/2019             VAGNONI, MICHAEL D.   $1,330.00    3.8     B17        Review Plan and Disclosure Statement.
4/12/2019             VAGNONI, MICHAEL D.   $140.00      0.4     B17        Conference with client and A. Baglanzis re: plan.

                                                                            Conference Angela Baglanzis re: Disclosure Statement, Small Business Plan and Motion approving
4/15/2019             MORACA, VANJA         $63.00       0.7     B17        same. Draft Certificate of Service and electronically file same with Bankruptcy EDPA.
4/15/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17        Revise COS re disclosure statement and plan.
4/15/2019             MASTRANGELO, ANGELA   $520.00      1.6     B17        Revise liquidation analysis and plan; conf w/MDV re same; emails to and from client.
4/15/2019             VAGNONI, MICHAEL D.   $210.00      0.6     B17        Review projections and meeting with A. Baglanzis re: same.
4/16/2019             MASTRANGELO, ANGELA   $130.00      0.4     B14        Conf w/M. Pfieffer re dischargeability complaint; email to client re same.
                                                                            Review Philadelphia CCP notice re: Motion to Sever cases, conference ALB re: same and calendar
4/17/2019             MORACA, VANJA         $9.00        0.1     B14        response deadline.
4/18/2019             MASTRANGELO, ANGELA   $65.00       0.2     B19        Call to counsel for Wells Fargo re motion for relief from stay; conf w/DMV re same.
4/18/2019             MASTRANGELO, ANGELA   $487.50      1.5     B1         Mtg w/MDV; revise projection and liquidation analysis; email to client re same.
4/19/2019             VAGNONI, MICHAEL D.   $140.00      0.4     B7         Meeting with A. Baglanzis re: projections.
4/22/2019             MASTRANGELO, ANGELA   $32.50       0.1     B19        Call from Wells Fargo re motion for relief.
4/22/2019             MASTRANGELO, ANGELA   $325.00      1       B18        Draft Affidavit re ownership of properties; email to MDV re same.
4/22/2019             MASTRANGELO, ANGELA   $32.50       0.1     B8         Notice of Amended IRS Claim.
4/24/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B19        Telephone call to counsel to Wells Fargo re: motion for relief.
4/24/2019             MASTRANGELO, ANGELA   $32.50       0.1     B19        Emails re Motion for Relief from Stay.
4/24/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17        Objection to Disclosure Statement.
                                                                            Review docket, conference MDV re: Response to Complaint, draft Stipulation for Extension and
4/26/2019             MORACA, VANJA         $63.00       0.7     B14        forward to MDV.
4/26/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B17        Telephone clal to counsel to Plaintiffs re: plan.
                                                                            Review order conditionally approving disclosure statement; conf w/M. Vagnoni re exhibits to
4/29/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17        disclosure statement; prepare documents re same.
4/30/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17        Conf w/VM and LA re distribution of plan and plan documents.

5/1/2019              MASTRANGELO, ANGELA   $195.00      0.6     B17        Preparation of documents related to plan solicitation; conf w/LA re plan and disclosure statement.
5/1/2019              MASTRANGELO, ANGELA   $422.50      1.3     B17        Draft, revise and finalize ballots; conf w/MDV re same.
5/1/2019              MASTRANGELO, ANGELA   $195.00      0.6     B7         Cont drafting and revise dad's affidavit.
                                                                            Conference ALB, Draft Certificate of Service for Order, Disclosure Statement, Small Business Plan of
5/2/2019              MORACA, VANJA         $54.00       0.6     B17        Reorganization and Ballot and E-file same.
5/2/2019              MASTRANGELO, ANGELA   $130.00      0.4     B17        Conf w/LC re service of plan documentation; revise COS.
5/2/2019              MASTRANGELO, ANGELA   $162.50      0.5     B17        Email from client re affidavit; revise affidavit and circulate.
5/3/2019              MORACA, VANJA         $9.00        0.1     B14        Email MDV re: Response to Motion to Sever cases.

                                                                            Conference ALB re: Certificate of Service for Motion to Set Bar Dates to US Mortgage and to parties
5/3/2019              MORACA, VANJA         $72.00       0.8     B8         on suggestion of Bankruptcy Notice. Finalize and E-file same. Forward service copies First Class Mail.
5/3/2019              MORACA, VANJA         $18.00       0.2     B20        Login to Bank. ECF , update creditor add US Mortgage Resolution to the matrix.
                                                                            Review email from ALB re: March MOR, prepare al for filing, given to copy to ALB for review. Finalize,
5/3/2019              MORACA, VANJA         $45.00       0.5     B20        Login to Bank. ECF and E-file same.
5/3/2019              MASTRANGELO, ANGELA   $97.50       0.3     B14        Conf w/MDV re consenting answer; prepare same.
5/3/2019              MASTRANGELO, ANGELA   $325.00      1       B14        Conf w/MDV re motion to extend date for confirmation hearing; draft same.
5/3/2019              MASTRANGELO, ANGELA   $32.50       0.1     B8         Follow up on bar date motion and proof of service.
5/3/2019              MASTRANGELO, ANGELA   $32.50       0.1     B20        Review and finalize March operating report.
5/6/2019              MASTRANGELO, ANGELA   $1,137.50    3.5     B14        Raynor/Reis - Draft and revise consenting answer.
5/7/2019              MASTRANGELO, ANGELA   $65.00       0.2     B7         Email from client re affidavit.
5/7/2019              MASTRANGELO, ANGELA   $162.50      0.5     B14        Conf w/MDV re consenting answer; review Reis opposition to motion to sever.
                                                                            Conference Angela Baglanzis, E-file Consenting Answer to the Motion to Sever 3rd Party Complaint.
5/8/2019              MORACA, VANJA         $36.00       0.4     B14        Login to Phila CCP and E-file same.
                                                                            Conf w/counsel to Wells Fargo re payment history, application of payments, automatic stay, and
5/8/2019              MASTRANGELO, ANGELA   $292.50      0.9     B19        motion for relief; review additional documents re payment history.
5/8/2019              MASTRANGELO, ANGELA   $65.00       0.2     B8         Review amended POC.
5/8/2019              MASTRANGELO, ANGELA   $65.00       0.2     B14        Review opposition to motion to sever.
5/9/2019              MASTRANGELO, ANGELA   $130.00      0.4     B7         Review motion to convert.
5/9/2019              MASTRANGELO, ANGELA   $65.00       0.2     B7         Emails re UST fees.
5/9/2019              MASTRANGELO, ANGELA   $195.00      0.6     B18        Research re deed correction.

5/10/2019             GEORGE, EDMOND M.     $200.00      0.5     B7         Conference M. Vagnoni re: client default on obligations post-petition and motion to convert.



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5/10/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Email to client re information needed for Wells Fargo and status of discussions.
5/10/2019             MASTRANGELO, ANGELA   $195.00    0.6     B14         Research documents re motion to convert and adversary proceeding property ownership.
5/10/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Follow up with sheriff re recovery of monies held in trust.
                                                                           Email from client; compile payment history for Wells Fargo; email to counsel to Wells Fargo; email
5/13/2019             MASTRANGELO, ANGELA   $455.00    1.4     B7          from and to client re same.
                                                                           Review form from MDV re: address change, review schedule F and draft Notice of address change,
5/14/2019             MORACA, VANJA         $81.00     0.9     B20         given to ALB for review and E-file same.
5/14/2019             MORACA, VANJA         $18.00     0.2     B14         Review Phila CCP docket and conference Angela Baglanzis re: Motion to Sever.
5/14/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Correspondence from Wells Fargo.
5/14/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20         Conf w/VM re creditor addresses; conf w/VM re PA claims.
5/14/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20         Review POC 16 re PA Dept of Rev Admin Claim.
5/14/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20         Review amended POC 3 - PA Dept of Rev.
5/16/2019             MORACA, VANJA         $63.00     0.7     B20         Review email from MDV re: Municipal Court claims, call Judgment unit re: same.
5/16/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Conf w/client re Wells Fargo and Motion to Convert.
5/16/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B17         Conference with a. Baglanzis re: status; plan.
5/20/2019             MASTRANGELO, ANGELA   $260.00    0.8     B7          Conf call with client; review documents provided by client; email to client re projections.
5/20/2019             MASTRANGELO, ANGELA   $130.00    0.4     B7          Review status and correspondence from Sheriff.
5/20/2019             MASTRANGELO, ANGELA   $65.00     0.2     B11         Conf w/MDV re application to retain Keller Williams.
5/20/2019             MASTRANGELO, ANGELA   $162.50    0.5     B11         Draft application to employ Keller Williams.
5/20/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B7          Review documents from client re: water bills.
5/20/2019             VAGNONI, MICHAEL D.   $175.00    0.5     B21         Conference with client and A. Baglanzis re: water bills; taxes.
5/20/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B7          Review documents from client re: status.
5/20/2019             VAGNONI, MICHAEL D.   $70.00     0.2     B7          Review response to motion to sever.
5/21/2019             MORACA, VANJA         $45.00     0.5     B11         Review and revise Application to retain realtor.
5/21/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/MDV re status of upcoming matters.
5/21/2019             MASTRANGELO, ANGELA   $292.50    0.9     B7          Prepare for conf w/client; conf w/client.
5/21/2019             MASTRANGELO, ANGELA   $65.00     0.2     B8          Analysis of Dept of Treasury amended POC
5/21/2019             VAGNONI, MICHAEL D.   $210.00    0.6     B21         Telephone clal with P. Thurmond re: water/taxes.
5/22/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Review and revise projections; email to client re same.
5/22/2019             MASTRANGELO, ANGELA   $97.50     0.3     B17         Review opposition to plan and disclosure statement.
5/22/2019             MASTRANGELO, ANGELA   $227.50    0.7     B11         Revise application to employ Keller Williams.
5/23/2019             MORACA, VANJA         $18.00     0.2     B11         Review email from ALB re: Application to retain realtor, review same.

5/23/2019             MORACA, VANJA         $36.00     0.4     B14         Draft 4th Stipulation for Extension of Time to Answer Complaint, forward to MDV and ALB for review.
5/23/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/MDV re status.
                                                                           Analysis of plan modification and discharge issues; conf call w/client re same, projections and and
5/23/2019             MASTRANGELO, ANGELA   $292.50    0.9     B1          liquidation analysis; conf w/client re water bills issues and motion to convert.
5/23/2019             MASTRANGELO, ANGELA   $65.00     0.2     B11         Conf call w/client re application to employ Keller Williams.
5/23/2019             MASTRANGELO, ANGELA   $32.50     0.1     B19         Follow up with Wells Fargo re Motion for Relief.
5/23/2019             MASTRANGELO, ANGELA   $65.00     0.2     B11         Conf w/atty for Keller Williams re affidavit of disinterestedness.
5/23/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Review joinder to motion to convert.
5/23/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B7          Conference with A. Baglanzis re: projections.
5/23/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B14         Telephone call to mark Pfeiffer re: complaint.
5/23/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B7          Conference with Angela L. Baglanzis re: projections.
5/23/2019             VAGNONI, MICHAEL D.   $105.00    0.3     B14         Telephone call to M. Pfeiffer re: complaint.
                                                                           Conference Angela Baglanzis re: Motion to Extend Confirmation Hearing, prepare Certificate of
5/24/2019             MORACA, VANJA         $63.00     0.7     B17         Service and E-file same.
                                                                           Review email from opposing counsel re: Stipulation for Extension of Time to Answer Complaint, and e-
5/24/2019             MORACA, VANJA         $36.00     0.4     B14         file same. Update calendar.
5/24/2019             POSTERNOCK, SUSAN     $36.00     0.4     B18         Gathering requested property information (for A. Baglanzis).
                                                                           Revise and finalize motion to extend confirmation hearing date; conf w/MV re same; review order re
5/24/2019             MASTRANGELO, ANGELA   $227.50    0.7     B17         same.
5/24/2019             MASTRANGELO, ANGELA   $130.00    0.4     B7          Conf w/counsel to Wells Fargo.
5/24/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/MDV re projections.
                                                                           Research documents regarding ownership of properties; conf w/MDV re same; conf w/SP re
5/24/2019             MASTRANGELO, ANGELA   $130.00    0.4     B18         mortgages and deeds.
5/28/2019             VAGNONI, MICHAEL D.   $140.00    0.4     B17         Telephone call from P. Thurmond re: confirmation hearing.
5/28/2019             MASTRANGELO, ANGELA   $162.50    0.5     B17         Review and revise plan exhibits.
                                                                           Conf w/City line abstract re sheriff sale and lien search; follow up emails; research and review sheriff
5/30/2019             MASTRANGELO, ANGELA   $227.50    0.7     B18         deeds; conf w/MDV re same.
5/30/2019             MASTRANGELO, ANGELA   $32.50     0.1     B11         Conf w/client re application to employ Keller Williams.
5/30/2019             MASTRANGELO, ANGELA   $130.00    0.4     B17         Review objection to confirmation; conf with counsel re adjournment of hearing.
5/30/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Emails re outstanding fees and status of matters.
6/4/2019              MASTRANGELO, ANGELA   $65.00     0.2     B13         Bofinger: Emails from potential funding sources; call from client.
                                                                           Review email from Victor Maia and Angela Baglanzis, revise Application to Employ Keller Williams,
                                                                           draft Certificate of Service. Prepare and electronically file same. Calendar Certificate of No Response
6/6/2019              MORACA, VANJA         $144.00    1.6     B11         deadline.
                                                                           Conference ALB re: Notice hearing continuance re: Disclosure Statement and Chapter 7, finalize and E-
6/6/2019              MORACA, VANJA         $45.00     0.5     B17         file same.



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Date                  Timekeeper Name       Amount     Hours   Task Code Narrative
6/6/2019              MORACA, VANJA         $27.00     0.3     B11       Prepare and E-file Notice of Application to Employ Keller Williams.
6/6/2019              MASTRANGELO, ANGELA   $130.00    0.4     B11       Review affidavit re application to employ; conf w/VM re same.
                                                                         Conf w/Court re Confirmation hearing adjournment; prepare amended notice re same; review
6/6/2019              MASTRANGELO, ANGELA   $455.00    1.4     B7        creditor noticing.
6/7/2019              MASTRANGELO, ANGELA   $130.00    0.4     B11       Conf w/MDV re Keller Williams affidavit; email to client re same.
                                                                         Draft amended affidavit; email to client; conf w/client re revisions to affidavit; revise affidavit; email
6/10/2019             MASTRANGELO, ANGELA   $227.50    0.7     B11       to client re same.
6/10/2019             MASTRANGELO, ANGELA   $65.00     0.2     B19       Email to counsel for Wells Fargo re motion for relief and updated payment history.
6/11/2019             MASTRANGELO, ANGELA   $130.00    0.4     B19       Follow up with counsel re motion for relief and payment history.
6/11/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17       Call from counsel re status of hearings on Motion to Convert and Plan Confirmation.
                                                                         Emails and conf w/Wells Fargo re Motion for Relief and payment history; email to client re updated
6/12/2019             MASTRANGELO, ANGELA   $162.50    0.5     B19       information.
                                                                         Review email from ALB re: theft of 1925 Berkshire property. Conference Annette Talalrico re: same,
6/13/2019             MORACA, VANJA         $18.00     0.2     B18       report to ALB.
                                                                         Review email from ALB , prepare Monthly Operating Report documents, print all for ALB review,
6/13/2019             MORACA, VANJA         $54.00     0.6     B20       finalize and E-file same.
6/13/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18       Conf w/VM re correction deed.
6/13/2019             MASTRANGELO, ANGELA   $32.50     0.1     B19       Email from and to client re mortgage payments to Wells Fargo.
6/13/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20       Email re monthly operating report; review same; conf w/VM re same.
6/13/2019             MASTRANGELO, ANGELA   $32.50     0.1     B19       Prepare documents for Wells Fargo.
6/13/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17       Review Wilson/Butts objection to confirmation of plan.
6/14/2019             MASTRANGELO, ANGELA   $97.50     0.3     B18       Follow up on adjournment of sheriff sale.
6/14/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20       Review and finalize MOR.
6/14/2019             MASTRANGELO, ANGELA   $32.50     0.1     B14       Adversary - request for extension.
                                                                         Draft 5th Stipulation for Extension to Answer to Complaint in Adversary matter, forward same to ALB,
6/17/2019             MORACA, VANJA         $45.00     0.5     B14       MDV.
                                                                         Conference MDV re: Rule Hearing re: Motion to Sever, call judges chambers re: same and email MDV
6/18/2019             MORACA, VANJA         $9.00      0.1     B7        and ALB.

6/19/2019             MORACA, VANJA         $27.00     0.3     B14         Conference AMB . Prepare copies of the Motion to Sever for hearing in Phila Court of Common pleas.

6/19/2019             MASTRANGELO, ANGELA   $32.50     0.1     B14         Reise - Conf w/Michael D. Vagnoni re hearing on order to show cause; prepare for hearing re same.
6/19/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Email from client re amended affidavit; revise affidavit.
6/20/2019             MASTRANGELO, ANGELA   $130.00    0.4     B7          Review and finalize amended certification; email to client re same.
6/20/2019             MASTRANGELO, ANGELA   $942.50    2.9     B7          Reise - Prepare for and attend hearing.
                                                                           Email to counsel re additional information regarding payments to Wells Fargo re 79 Redwood
6/24/2019             MASTRANGELO, ANGELA   $65.00     0.2     B19         Property.
6/24/2019             MASTRANGELO, ANGELA   $65.00     0.2     B14         Conf w/MDV re status of adversary proceeding and copies of the mortgages.
6/24/2019             MASTRANGELO, ANGELA   $97.50     0.3     B7          Conf w/MDV re status of sheriff sales, dates of judgments and preference period.
                                                                           Conf w/MDV re amendment to disclosure statement and confirmation hearing, and deadline for plan
6/24/2019             MASTRANGELO, ANGELA   $97.50     0.3     B17         confirmation.
6/24/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Conf w/MDV re correction deed; email to JC re same.
                                                                           Conference MDV, finalize and E-file 5th Stipulation for Extension of time to Answer Adversary matter
6/25/2019             MORACA, VANJA         $45.00     0.5     B14         Complaint.
7/11/2019             MASTRANGELO, ANGELA   $97.50     0.3     B19         Follow up with Wells Fargo re payment history; obtain consent for adjournment of hearing.
                                                                           Follow up with counsel to the city of Philadelphia re confirmation hearing; conf w/court re
7/12/2019             MASTRANGELO, ANGELA   $162.50    0.5     B17         adjournment of hearing; draft notice of hearing.
                                                                           Formatted, finalized and filed Notice of Continued Hrg. on Conf. Hearing and Motion to Convert on
7/15/2019             BELAIR, HELEN C.      $76.00     0.4     B7          behalf of A. Baglanzis (.3); incorporated copy of same into case file (.1).
7/16/2019             MASTRANGELO, ANGELA   $65.00     0.2     B14         Review order dismissing joinder complaint; email to client re same.
7/24/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17         Conf w/MDV re status and confirmation hearing.
7/25/2019             MASTRANGELO, ANGELA   $227.50    0.7     B20         Review and finalize MORs for May and June; conf w/VM re same.
7/25/2019             MORACA, VANJA         $54.00     0.6     B20         Conference ALB, prepare and E-file Monthly Operating Report for May and June 2019.
                                                                           Conference ALB, draft and forward 6th Stipulation for Extension of time to Answer Complaint,
7/25/2019             MORACA, VANJA         $36.00     0.4     B14         forward to ALB.
7/25/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Emails to and from counsel re Nobles; conf w/VM re same.
7/25/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17         Emails to counsel re adjourning confirmation hearing.
7/26/2019             MORACA, VANJA         $9.00      0.1     B7          Check docket re: Stipulation, conference ALB re: same.
7/26/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Review order of court re stipulation.
7/26/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Call from court re hearing dates.
7/29/2019             MASTRANGELO, ANGELA   $32.50     0.1     B17         Conf w/MDV re status of confirmation hearing.
7/29/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Email from and to counsel re new hearing date.
7/29/2019             MASTRANGELO, ANGELA   $32.50     0.1     B18         Email to client re correspondence from Wells Fargo regarding insurance.
7/30/2019             MASTRANGELO, ANGELA   $32.50     0.1     B17         Call to court re confirmation hearing date.
                                                                           Email and review documents from secured creditor re settlement payoff for church street; email to
7/30/2019             MASTRANGELO, ANGELA   $162.50    0.5     B7          client re same.
7/30/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Email to counsel re new hearing dates.
7/31/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Draft amended notice of hearing.




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Date                  Timekeeper Name       Amount       Hours   Task Code Narrative
                                                                           Email from city counsel re taxes and water bill payments; review distribution schedule and title policy
7/31/2019             MASTRANGELO, ANGELA   $325.00      1       B21       for D Street; review title policy for Torresdale.
7/31/2019             MASTRANGELO, ANGELA   $162.50      0.5     B7        Preparation for mtg w/client.
8/2/2019              MASTRANGELO, ANGELA   $812.50      2.5     B7        Prepare for meeting and meet with client re status of properties, claims, and plan.
8/2/2019              MASTRANGELO, ANGELA   $162.50      0.5     B7        Conf w/MDV re status and meeting with client.
8/2/2019              VAGNONI, MICHAEL D.   $245.00      0.7     B17       Client meeting re: amended plan.
8/5/2019              MASTRANGELO, ANGELA   $97.50       0.3     B17       Conf w/MDV re revised projections and plan contributions.

8/5/2019              MASTRANGELO, ANGELA   $650.00      2       B17         Analysis of income and expenses re projections and payments under plan; email to client re same.
8/6/2019              MASTRANGELO, ANGELA   $32.50       0.1     B7          Email from client re commissions.
8/7/2019              MASTRANGELO, ANGELA   $97.50       0.3     B7          Email to client re information regarding commissions and revise projections.
8/7/2019              MASTRANGELO, ANGELA   $487.50      1.5     B17         Draft amended plan.
8/7/2019              MASTRANGELO, ANGELA   $812.50      2.5     B17         Draft Amended Disclosure statement and revise plan projections.
8/7/2019              MASTRANGELO, ANGELA   $325.00      1       B17         Analysis of objections to disclosure statement and plan.
8/8/2019              MASTRANGELO, ANGELA   $32.50       0.1     B7          Email from client re information regarding contributions.

8/8/2019              MASTRANGELO, ANGELA   $1,137.50    3.5     B17         Revise disclosure statement, plan projections, liquidation analysis, and debtor contributions.
8/8/2019              MASTRANGELO, ANGELA   $32.50       0.1     B21         Email to and from client re 2018 tax returns.
8/9/2019              MASTRANGELO, ANGELA   $1,462.50    4.5     B17         Analysis of feasibility of plan.
8/9/2019              MASTRANGELO, ANGELA   $162.50      0.5     B17         Mtg w/MDV re plan revisions.
8/9/2019              VAGNONI, MICHAEL D.   $315.00      0.9     B17         Review/revise plan and Disclosure Statement.
8/9/2019              VAGNONI, MICHAEL D.   $210.00      0.6     B17         Meeting with A. Baglanzis re: plan supplements.
8/9/2019              VAGNONI, MICHAEL D.   $70.00       0.2     B8          Telephone call to counsel to judgment creditors re: resolution.
8/11/2019             MASTRANGELO, ANGELA   $292.50      0.9     B17         Incorporate comments re disclosure statement and plan.; email to client re same.
8/12/2019             MASTRANGELO, ANGELA   $845.00      2.6     B17         Incorporate changes into disclosure statement and plan.
8/12/2019             MASTRANGELO, ANGELA   $260.00      0.8     B17         Conf w/client re plan revisions.
8/12/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17         Email to client re revised disclosure statement and plan for authorization to file.
                                                                             Conference Angela Baglanzis re: Amended Disclosure Statement, Plan and Notice. Prepare and E-file
8/13/2019             MORACA, VANJA         $99.00       1.1     B17         same.
8/13/2019             MASTRANGELO, ANGELA   $1,137.50    3.5     B17         Final revisions to amended disclosure statement; preparation of exhibits re same.
8/13/2019             MASTRANGELO, ANGELA   $650.00      2       B17         Final revisions to amended plan.
8/13/2019             MASTRANGELO, ANGELA   $32.50       0.1     B7          Final revisions to notice of hearings.
8/13/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17         Conf w/VM re amended disclosure statement and plan, and notice.
                                                                             Call and email to counsel for Wells Fargo re motion for relief, plan, plan payments and voting in favor
8/14/2019             MASTRANGELO, ANGELA   $65.00       0.2     B19         of the plan.
8/14/2019             MASTRANGELO, ANGELA   $32.50       0.1     B15         Email from UST re outstanding fees.
8/14/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17         Conf w/UST re payments under the plan, absolute priority rule, and amending the plan.
8/14/2019             MASTRANGELO, ANGELA   $32.50       0.1     B15         Email to counsel to judgment creditor re meeting.
8/14/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17         Conf w/MDV re votes for the plan.
                                                                             Conf w/MDV and counsel to city of Philadelphia re plan and motion to convert and preparation re for
8/19/2019             MASTRANGELO, ANGELA   $292.50      0.9     B17         same.
8/19/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17         Analysis of UST objection to disclosure statement.
8/19/2019             MASTRANGELO, ANGELA   $292.50      0.9     B8          Analysis of City of Philadelphia POCs and Motion to convert.
8/19/2019             MASTRANGELO, ANGELA   $97.50       0.3     B8          Emails from counsel to the city of Philadelphia re updated claim information.
8/19/2019             MASTRANGELO, ANGELA   $162.50      0.5     B7          Email to client re information needed and payment plans.
8/19/2019             MASTRANGELO, ANGELA   $32.50       0.1     B14         Email to counsel re adversary proceeding.
8/19/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B21         Phone call to Pam Thurmond re: taxes.
8/20/2019             MASTRANGELO, ANGELA   $32.50       0.1     B14         Email from counsel re adversary proceeding.
8/21/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17         Conf w/DMV re status of city's opposition to plan.

8/21/2019             MASTRANGELO, ANGELA   $65.00       0.2     B7          Email to client re noticing procedures and outstanding items for counsel to the city of philadelphia.
8/21/2019             MASTRANGELO, ANGELA   $65.00       0.2     B14         Email to counsel re adversary proceeding.
8/21/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17         Emails to and from client re status and objections to plan.
8/23/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17         Emails re amended plan and objections to disclosure statement.
                                                                             Conf w/counsel to judgment creditors re dischargeability; draft and finalize stipulation extending time
8/23/2019             MASTRANGELO, ANGELA   $260.00      0.8     B15         to answer complaint.
                                                                             Emails from and to client re taxing authority and water bureau; email and analysis of property tax
8/26/2019             MASTRANGELO, ANGELA   $195.00      0.6     B21         agreements.
8/26/2019             MASTRANGELO, ANGELA   $130.00      0.4     B15         Email to and from counsel to judgment creditors.
8/26/2019             MASTRANGELO, ANGELA   $130.00      0.4     B21         Email from Pamela Thoumond re tax authority agreement and payment terms.
8/26/2019             VAGNONI, MICHAEL D.   $105.00      0.3     B21         Telephone call to P. Thurmond re: status.
8/27/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17         Conf w/Court re confirmation hearing adjournment.
8/27/2019             MASTRANGELO, ANGELA   $130.00      0.4     B19         Conf w/counsel to Wells Fargo re motion for relief.
8/27/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17         Email to Mark Pfeiffer re confirmation hearing.
8/27/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17         Email to and from AG re objection to confirmation and hearing adjournment.
8/27/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17         Conf w/counsel to the City of Philadelphia re objections to disclosure statement.
8/27/2019             MASTRANGELO, ANGELA   $325.00      1       B17         Revise disclosure statement.
8/27/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17         Email to client re information for disclosure statement and plan.




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                                                                           Review and incorporate copies of the Objection to approve Disclosure Statement and Objection to
8/28/2019             MORACA, VANJA         $27.00       0.3     B17       Amended Chapter 11 Small Business Plan. Forward to ALB.
                                                                           Analysis of Wells Fargo objections to disclosure statement; emails to and from counsel re hearing re
8/28/2019             MASTRANGELO, ANGELA   $227.50      0.7     B17       same.
                                                                           Anaylsis of amended proof of claim, objection to disclosure statement and language in the plan and
8/28/2019             MASTRANGELO, ANGELA   $195.00      0.6     B17       disclosure statement.
8/28/2019             MASTRANGELO, ANGELA   $942.50      2.9     B17       Analysis of all objections to disclosures statement and plan and alternative provisions.
8/28/2019             VAGNONI, MICHAEL D.   $140.00      0.4     B17       Conference with a. Baglanzis re: status; plan confirmation.
                                                                           Review email from A. Baglanzis re: July Monthly Operating Report, combine files and Electronically
8/29/2019             MORACA, VANJA         $45.00       0.5     B20       file in Bank. EDPA.
                                                                           Draft amended disclosure statement and amended plan; email to counsel for the City of Philadelphia,
8/29/2019             MASTRANGELO, ANGELA   $1,202.50    3.7     B17       PA Dept of Revenue, and UST.
8/29/2019             MASTRANGELO, ANGELA   $32.50       0.1     B17       Email to client re information for Wells Fargo and amended plan.
8/29/2019             MASTRANGELO, ANGELA   $65.00       0.2     B20       Analysis of MOR.
8/29/2019             VAGNONI, MICHAEL D.   $245.00      0.7     B17       Review/revise plan and disclosure statement.
8/30/2019             MASTRANGELO, ANGELA   $32.50       0.1     B15       Email and call from counsel to PNC.
8/30/2019             MASTRANGELO, ANGELA   $32.50       0.1     B15       Email from client re Wells Fargo payments and amended plan.
9/3/2019              MASTRANGELO, ANGELA   $162.50      0.5     B7        Analysis of payments to Wells Fargo; email to counsel re same.
9/4/2019              MASTRANGELO, ANGELA   $97.50       0.3     B15       Conf w/PNC re Torresdale Property.
9/9/2019              MASTRANGELO, ANGELA   $32.50       0.1     B21       Email to counsel for the City of Philadelphia re completed tax returns.
9/11/2019             MASTRANGELO, ANGELA   $130.00      0.4     B21       Email to and from counsel to Philadelphia re tax returns; email to client re same.

9/11/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17        Email from City of Philadelphia re comments to plan and disclosure statement and claim information.
9/12/2019             MORACA, VANJA         $27.00       0.3     B14        Maia/Reis Philadelphia case- review Notice of Settlement, call court re: Order not entered.
9/12/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17        Analysis of comments to plan and disclosure statement; email to client re same.
9/12/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17        Email to and from client re plan and disclosure statement.
                                                                            Email from client; analysis of corrected tax returns; email to counsel for the City of Philadelphia; email
9/13/2019             MASTRANGELO, ANGELA   $162.50      0.5     B21        from counsel re same.

9/13/2019             MORACA, VANJA         $27.00       0.3     B14        Call Court of Common Pleas re: Settlement Conference Memorandum. Email to ALB re: same.
9/13/2019             MASTRANGELO, ANGELA   $162.50      0.5     B7         Prepare for and conference with client.
9/17/2019             MORACA, VANJA         $9.00        0.1     B12        Email to ALB and MDV re: response to complaint in adversary deadline.
9/17/2019             MASTRANGELO, ANGELA   $97.50       0.3     B7         Conf w/EMG re status.
9/17/2019             MASTRANGELO, ANGELA   $32.50       0.1     B12        Follow up with counsel to litigation plaintiffs re adversary proceeding.
9/19/2019             MASTRANGELO, ANGELA   $65.00       0.2     B19        Follow up with Wells Fargo re Motion for Stay Relief.
9/19/2019             MASTRANGELO, ANGELA   $487.50      1.5     B2         Analysis of liquidation and projections.
9/20/2019             MASTRANGELO, ANGELA   $97.50       0.3     B18        Emails to and from counsel to the City of Philadelphia re comments and counter proposals.
                                                                            Analysis of plan and disclosure statement; revisions to plan and disclosure statement; email analysis
9/20/2019             MASTRANGELO, ANGELA   $650.00      2       B17        to client re same.
9/21/2019             MASTRANGELO, ANGELA   $65.00       0.2     B17        Email from and to PA Dept of Revenue re amended plan and disclosure statement.
9/23/2019             MASTRANGELO, ANGELA   $162.50      0.5     B17        Emails from Wells Fargo re Valley Street and plan objection.
                                                                            Review Settlement Letter Notice in Philadelphia Court of Common Pleas and forward to ALB,
9/24/2019             MORACA, VANJA         $9.00        0.1     B7         incorporate to file.
                                                                            Review email from ALB re: 8th Stipulation, draft Stipulation for Extension to Answer Complaint and
                                                                            forward to opposing counsel for approval. Receive response and electronically file same in EDPA/
9/24/2019             MORACA, VANJA         $54.00       0.6     B14        Bank.
9/24/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17        Conf call w/UST's office re status of plan and disclosure statement.
9/24/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17        Emails re status of plan and disclosure statement.
                                                                            Conf w/counsel to plaintiffs re outstanding issues with ownership of the property and potential
9/24/2019             MASTRANGELO, ANGELA   $162.50      0.5     B18        settlement.
9/24/2019             MASTRANGELO, ANGELA   $65.00       0.2     B7         Reise - review settlement correspondence.
9/24/2019             MASTRANGELO, ANGELA   $65.00       0.2     B7         Adversary - Review stipulation; emails re same.
9/24/2019             MASTRANGELO, ANGELA   $97.50       0.3     B7         Emails to and from City of Philadelphia re status of outstanding issues.
9/24/2019             MASTRANGELO, ANGELA   $97.50       0.3     B21        Analysis of taxing agreements.
9/25/2019             MASTRANGELO, ANGELA   $812.50      2.5     B7         Prepare for and attend hearing, provide status update to the court.
9/25/2019             MASTRANGELO, ANGELA   $65.00       0.2     B7         Follow up with counsel to the City of Philadelphia.
10/2/2019             MASTRANGELO, ANGELA   $32.50       0.1     B15        Email from secured creditor re status.
10/2/2019             MASTRANGELO, ANGELA   $32.50       0.1     B14        Conf w/MDV re settlement negotiations re adversary proceeding.
10/7/2019             MASTRANGELO, ANGELA   $65.00       0.2     B18        Follow up on Sheriff sale.
10/8/2019             MASTRANGELO, ANGELA   $32.50       0.1     B18        Finalize ltr to sheriff re continuation of sale.
10/9/2019             MASTRANGELO, ANGELA   $325.00      1       B17        Revisions to plan and disclosure statement.
10/9/2019             MASTRANGELO, ANGELA   $97.50       0.3     B17        Follow up on outstanding objections to confirmation.
10/9/2019             MASTRANGELO, ANGELA   $130.00      0.4     B14        Correspondence with Mark Pfeiffer re settlement of adversary proceeding.
10/10/2019            MASTRANGELO, ANGELA   $32.50       0.1     B18        Email from and to client re sheriff sale.
10/10/2019            MASTRANGELO, ANGELA   $65.00       0.2     B17        Email to client re advise re amended plan and disclosure statement.

10/10/2019            MASTRANGELO, ANGELA   $942.50      2.9     B1         Analysis of interest payments and make adjustments and recalculate payment under the plan.
10/10/2019            MASTRANGELO, ANGELA   $32.50       0.1     B17        Email to client re amended plan and disclosure for comments.
10/10/2019            MASTRANGELO, ANGELA   $65.00       0.2     B17        Conf w/MDV re amended plan, circulation of same to objecting creditors.



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10/10/2019            MASTRANGELO, ANGELA   $32.50     0.1     B20         Email from client re MOR.
10/11/2019            MASTRANGELO, ANGELA   $97.50     0.3     B20         Analysis of MOR, email to client re security deposit account.
10/11/2019            MORACA, VANJA         $27.00     0.3     B20         Finalize MOR August and record in EDPA Bank. Court.
10/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B17         Email to counsel amended plan and disclosure.
10/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14         Communication with Mark Pfeiffer re adversary proceeding settlement discussions.

10/11/2019            MASTRANGELO, ANGELA   $97.50     0.3     B19         Correspondence and communication with counsel to Wells re updated payment information.
10/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B18         Follow up with client re sale of properties.
10/11/2019            MASTRANGELO, ANGELA   $97.50     0.3     B1          Analysis of payments and communications with the client re same.
10/11/2019            MASTRANGELO, ANGELA   $130.00    0.4     B1          Analysis of and communications with counsel re matured loans.
10/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15         Conf with secured creditor re 2nd lien position and plan.
10/14/2019            MASTRANGELO, ANGELA   $32.50     0.1     B17         Email to counsel for the city re outstanding issues with the plan and disclosure statement.
10/14/2019            MASTRANGELO, ANGELA   $942.50    2.9     B18         Review mortgage loan documents for all debtor properties.
10/14/2019            MASTRANGELO, ANGELA   $260.00    0.8     B15         Prepare for and attend call with counsel to Wells Fargo.
10/14/2019            MASTRANGELO, ANGELA   $162.50    0.5     B18         Review payment history 79 Redwood.
10/14/2019            MASTRANGELO, ANGELA   $65.00     0.2     B18         Emails to and from client re payments on 79 Redwood.
10/14/2019            MASTRANGELO, ANGELA   $162.50    0.5     B17         Revise plan and disclosure statement; circulate revisions to counsel.
                                                                           Email from and to counsel to PA Dept of Revenue re status and outstanding objections to plan and
10/14/2019            MASTRANGELO, ANGELA   $65.00     0.2     B17         disclosure statement.
10/14/2019            MASTRANGELO, ANGELA   $650.00    2       B14         Email to and from Mark Pfeiffer re settlement negotiations.
10/15/2019            MASTRANGELO, ANGELA   $65.00     0.2     B18         Revise payments re 79 Redwood; email to counsel re treatment of claims under the plan.
10/15/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7          Email to and from UST re adjournment of hearings.
10/15/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7          Email to and from Mark Pfeiffer re new hearing date.
10/15/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7          Call to and from court re new hearing date.
10/15/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7          Email to parties in interest re new hearing date.
10/18/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15         Conf w/secured creditor re treatment under plan; email re same.
10/21/2019            MASTRANGELO, ANGELA   $260.00    0.8     B1          Research re absolute priority rule and cramdown.
10/21/2019            MASTRANGELO, ANGELA   $32.50     0.1     B18         Email from client re payment to Wells Fargo re 79 Redwood.
10/21/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14         Adversary - conf w/VM re extension of time to answer adversary.
                                                                           Adversary-Discuss Stipulation for Extension with ALB, prepare stipulation and forward to opposing
10/21/2019            MORACA, VANJA         $45.00     0.5     B14         counsel for approval.
                                                                           Adversary- Review email from opposing counsel and file Stipulation for Extension of time to answer
10/22/2019            MORACA, VANJA         $27.00     0.3     B14         complaint.
10/22/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15         Communications from Amy Mansfield re 2nd mortgage.
10/23/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15         Communications with Amy Mansfield re amended disclosure statement and plan.
10/28/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7          Follow up with Mark Pfieffer re settlement negotiations.
11/4/2019             MASTRANGELO, ANGELA   $65.00     0.2     B7          Conf w/MDV re assessment of settlement negotiations.
11/6/2019             MASTRANGELO, ANGELA   $97.50     0.3     B17         Conf w/counsel to the City of Philadelphia re Amended Plan and Disclosure Statement.
11/6/2019             MASTRANGELO, ANGELA   $325.00    1       B17         Conform disclosure statement and plan, and adjust projections email to counsel re same.
11/6/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17         Communications re disclosure statement and plan.
11/7/2019             MASTRANGELO, ANGELA   $32.50     0.1     B15         Communications from PNC re Griscom; communications with client re same.

11/8/2019             MASTRANGELO, ANGELA   $162.50    0.5     B14         Prepare for and communications w/Mark Pfeiffer re adversary proceeding and resolution of claims.
11/8/2019             MASTRANGELO, ANGELA   $162.50    0.5     B7          Communications with counsel to interested parties re continuance of hearing.
11/8/2019             MASTRANGELO, ANGELA   $97.50     0.3     B19         Communications with Wells Fargo re payments and relief from stay.
11/8/2019             MASTRANGELO, ANGELA   $32.50     0.1     B7          Communications to client re proof of payment.
11/8/2019             MASTRANGELO, ANGELA   $162.50    0.5     B15         Communications with secured lender re plan and payments under the plan.
11/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B18         Communications with client re payment history re 79 Redwood.
11/11/2019            MASTRANGELO, ANGELA   $162.50    0.5     B18         Analysis of payment history and recent payments re 79 Redwood.
11/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B15         Communications with counsel to Wells Fargo re payments and motion for relief from stay.
11/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14         Communications with client re adversary proceeding settlement discussions.

11/11/2019            MASTRANGELO, ANGELA   $97.50     0.3     B7          Communications with counsel to the city re objections to plan and withdrawal of objections.

11/12/2019            MASTRANGELO, ANGELA   $32.50     0.1     B17         Call to court re adjourning confirmation hearing; communications with counsel re adjournment.
11/12/2019            MASTRANGELO, ANGELA   $65.00     0.2     B19         Communications with Wells Fargo re Motion for Relief.
11/12/2019            MASTRANGELO, ANGELA   $130.00    0.4     B17         Communications with counsel to the city re confirmation hearing and motion to convert.
11/12/2019            MASTRANGELO, ANGELA   $97.50     0.3     B15         Communications with secured lender re possible settlement.
11/13/2019            MASTRANGELO, ANGELA   $65.00     0.2     B19         Conf w/counsel to Wells Fargo re motion for relief.
11/13/2019            MASTRANGELO, ANGELA   $97.50     0.3     B15         Conf w/client re payments to Wells Fargo and updated payment history.

11/13/2019            MASTRANGELO, ANGELA   $812.50    2.5     B19         Prepare for and attention hearing on motion for relief from stay; preparation of exhibits re same.
11/13/2019            MASTRANGELO, ANGELA   $130.00    0.4     B15         Conf w/counsel to Wells Fargo re objections to confirmation and status of matured loans.
11/15/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15         Communications with secured creditor re plan voting.
11/15/2019            MORACA, VANJA         $9.00      0.1     B14         Nobles-Internal email reminder re: Answer to Complaint.
11/20/2019            MASTRANGELO, ANGELA   $32.50     0.1     B15         Communication from secured creditor re vote in favor of plan.
11/21/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14         Conf with MDV re adversary proceeding.
11/21/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14         Emails to and from Mark Pfeiffer re adversary.
11/21/2019            MASTRANGELO, ANGELA   $162.50    0.5     B7          Conf call with Mark Pfieffer re settlement discussions.



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11/21/2019            MASTRANGELO, ANGELA   $32.50     0.1     B7        Internal communications re settlement discussions with Mark Pfeiffer.

11/21/2019            MASTRANGELO, ANGELA   $325.00    1       B18        Review projections and potential sale of properties, re strategy and settlement negotiations.
11/22/2019            MASTRANGELO, ANGELA   $97.50     0.3     B7         Conf w/MDV re settlement negotiations with Mark Pfeiffer.
11/22/2019            MASTRANGELO, ANGELA   $65.00     0.2     B7         Communications with client.
11/22/2019            MASTRANGELO, ANGELA   $65.00     0.2     B14        Communications with Mark Pfeiffer re extending time to answer.
11/22/2019            MASTRANGELO, ANGELA   $65.00     0.2     B14        Finalize stipulation to extend time to answer.
11/22/2019            MASTRANGELO, ANGELA   $130.00    0.4     B7         Communications with client re options for plan of reorganization; conf w/MDV re same.
11/22/2019            MASTRANGELO, ANGELA   $130.00    0.4     B14        Communications with client re counteroffer regarding adversary.
11/25/2019            MASTRANGELO, ANGELA   $65.00     0.2     B7         Correspondence with sheriff's office.
11/25/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15        Correspondence with PNC re Torresdale property.
11/25/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15        Correspondence with PNC re D. Street Property.
11/25/2019            MASTRANGELO, ANGELA   $130.00    0.4     B17        Communications with Wells Fargo re objections to disclosure statement.
11/25/2019            MASTRANGELO, ANGELA   $65.00     0.2     B15        Communications with Wells Fargo re payment history.
11/26/2019            MASTRANGELO, ANGELA   $130.00    0.4     B20        Analysis of September MOR and finalize same.
11/26/2019            MASTRANGELO, ANGELA   $97.50     0.3     B21        Communications with Pamela Thurmond re property tax payments.
11/26/2019            MASTRANGELO, ANGELA   $65.00     0.2     B21        Communications with client re confirmation of payments re property taxes.
11/26/2019            MASTRANGELO, ANGELA   $65.00     0.2     B17        Communications with counsel to Wells Fargo re objections to confirmation.
11/27/2019            MASTRANGELO, ANGELA   $32.50     0.1     B17        Email to and from counsel to PNC re objection to disclosure statement.
12/4/2019             MASTRANGELO, ANGELA   $97.50     0.3     B8         Analysis of amended proofs of claim.
12/4/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20        Review October monthly operating report.
12/4/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20        Communications with client re revisions to exhibits re payments made toward taxes.
12/5/2019             MASTRANGELO, ANGELA   $32.50     0.1     B8         Review amended POC re Wilson.
12/5/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20        Review and finalize MOR.
12/5/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20        Communications to client re Exhibit E to MOR and updated payments re taxes.
12/5/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17        Conf w/MDV re secured claims and amendments to the plan.
12/6/2019             MASTRANGELO, ANGELA   $65.00     0.2     B17        Corresondence with client re PNC bank re plan objections.
12/6/2019             MASTRANGELO, ANGELA   $32.50     0.1     B20        Internal communication with CS re October MOR.
12/6/2019             SCHMIDT, COLEEN M.    $39.00     0.2     B7         Prepare October 2019 monthly operating report for submission to Court.
12/9/2019             FALK, TURNER N.       $885.00    3       B8         Analysis of timing of liens of real property
12/9/2019             MASTRANGELO, ANGELA   $97.50     0.3     B20        Communications with UST re monthly reports.
12/9/2019             MASTRANGELO, ANGELA   $65.00     0.2     B20        Analysis of reports re UST's office.
12/9/2019             MASTRANGELO, ANGELA   $130.00    0.4     B17        Analysis of objection to plan confirmation.
12/9/2019             MASTRANGELO, ANGELA   $32.50     0.1     B17        Communications with Mark Pfeiffer re confirmation hearing.
12/9/2019             MASTRANGELO, ANGELA   $32.50     0.1     B19        Communications with counsel to Wells Fargo re payment history.
12/9/2019             MASTRANGELO, ANGELA   $97.50     0.3     B8         Conf with TF re when judgments attach to real property.
12/10/2019            FALK, TURNER N.       $236.00    0.8     B8         Prepared lien timing analysis
12/10/2019            MASTRANGELO, ANGELA   $97.50     0.3     B8         Review memo re judgments entered within preference period.
12/10/2019            MASTRANGELO, ANGELA   $487.50    1.5     B2         Analysis of 19 properties re sale and plan.
12/10/2019            MASTRANGELO, ANGELA   $32.50     0.1     B6         Communication with client re correspondence from Wells Fargo.
12/10/2019            MASTRANGELO, ANGELA   $97.50     0.3     B17        Communications with counsel re adjournment of hearings.
12/10/2019            MASTRANGELO, ANGELA   $32.50     0.1     B19        Communications from counsel re payment history.
12/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B19        Communications with counsel to Wells Fargo re stipulation.
12/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B17        Call from Court re continuance of hearing.
12/11/2019            MASTRANGELO, ANGELA   $32.50     0.1     B17        Communications w/counsel re continuance of hearing and new date.
12/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B14        Conf w/MDV re answer and counterclaim.
12/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B8         Communications with MDV re counterclaim to proof of claims.
12/11/2019            MASTRANGELO, ANGELA   $65.00     0.2     B19        Communications with Wells Fargo re stipulation resolving Motion for Relief.
12/19/2019            MASTRANGELO, ANGELA   $65.00     0.2     B8         Conf w/TF re claims objections.
12/23/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14        Communications with MDV re adversary and settlement negotiations.
12/23/2019            MASTRANGELO, ANGELA   $32.50     0.1     B14        Communications with Mark Pfieffer.
                                                                          Analyze stipulation extending time to respond to adversary complaint of Willie Nobles and Diana
12/26/2019            SCHMIDT, COLEEN M.    $39.00     0.2     B14        Wilson.
1/2/2020              MASTRANGELO, ANGELA   $227.50    0.7     B19        Analysis of payment history and application of payments.
1/2/2020              MASTRANGELO, ANGELA   $325.00    1       B19        Analysis of proposed stipulation and order; revisions to same.
1/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B19        Email to client re stipulation and continued payments.
1/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B19        Conf w/MDV re stipulation.
1/2/2020              MASTRANGELO, ANGELA   $130.00    0.4     B14        Conf w/MDV re answer, affirmative defenses and counterclaims.
1/2/2020              MASTRANGELO, ANGELA   $97.50     0.3     B8         Conf w/MDV re objection to claims.
                                                                          Conf w/Jill Manuel- Coughlin re objections to plan; follow up re payment history and resolution of
1/2/2020              MASTRANGELO, ANGELA   $227.50    0.7     B17        objections.
1/2/2020              MASTRANGELO, ANGELA   $162.50    0.5     B17        Revise Second Amended Plan.
1/2/2020              MASTRANGELO, ANGELA   $162.50    0.5     B17        Analysis of PNC's objection to plan and communications with counsel re same.
1/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B20        Email to client re November MOR.
1/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B14        Draft stipulation extending time.
1/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B14        Communications to and from counsel re stipulation.
1/3/2020              MASTRANGELO, ANGELA   $32.50     0.1     B14        Finalize stipulation with plaintiff extending time to answer complaint.
1/7/2020              MASTRANGELO, ANGELA   $292.50    0.9     B19        Revisions to stipulation with Wells Fargo; email same to counsel.
1/7/2020              MASTRANGELO, ANGELA   $97.50     0.3     B20        Review monthly report and status of properties.



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1/8/2020              MASTRANGELO, ANGELA   $65.00       0.2     B17       Communications to and from City of Philadelphia re confirmation hearing.
1/9/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17       Communications with creditor re status of Plan.
                                                                           Receipt and reviewed correspondence from K. Boyer re: Superior Court Appeal and Bankruptcy
1/13/2020             BARNES, D A.          $70.00       0.2     B14       status.
1/13/2020             BARNES, D A.          $105.00      0.3     B14       Review bankruptcy docket.
1/13/2020             BARNES, D A.          $35.00       0.1     B14       Confer with Michael Vagnoni re: same.
1/14/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17       Call to court re hearing.
1/14/2020             MASTRANGELO, ANGELA   $65.00       0.2     B17       Email from and to Mark Pfieffer re hearing.
1/14/2020             MASTRANGELO, ANGELA   $97.50       0.3     B7        Communications client re status and update re mortgage payments.
1/14/2020             MASTRANGELO, ANGELA   $65.00       0.2     B14       Communications with client re appeals and negotiations with plaintiffs.
1/15/2020             MASTRANGELO, ANGELA   $97.50       0.3     B17       Analysis of PNC payoff for D Street; email to client re same.
1/15/2020             MASTRANGELO, ANGELA   $97.50       0.3     B19       Communications with counsel re revisions to stipulation.
1/15/2020             MASTRANGELO, ANGELA   $162.50      0.5     B17       Review Wells Fargo mortgage payment history.
1/15/2020             MASTRANGELO, ANGELA   $65.00       0.2     B8        Communication with Sheriff re payoff for D Street.
1/15/2020             MASTRANGELO, ANGELA   $130.00      0.4     B19       Conf w/counsel re stipulation resolving motion for relief from stay.
1/15/2020             MASTRANGELO, ANGELA   $32.50       0.1     B8        Emails to counsel re PNC payoff for D Street.
1/15/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17       Email to counsel for Wells Fargo the revised amended plan and disclosure statement.
1/15/2020             MASTRANGELO, ANGELA   $65.00       0.2     B19       Communications to client re payments on 79 Redwood.
1/15/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17       Communications from court re adjournment of hearing.
1/15/2020             MASTRANGELO, ANGELA   $65.00       0.2     B17       Conf w/MDV re status.
1/15/2020             MASTRANGELO, ANGELA   $32.50       0.1     B8        Communications with client re payment history for PNC.
1/15/2020             MASTRANGELO, ANGELA   $97.50       0.3     B7        Preparation of status for adjournment request.
1/16/2020             MASTRANGELO, ANGELA   $162.50      0.5     B19       Analysis of payment history 79 Redwood property; email to client re same.
1/17/2020             MASTRANGELO, ANGELA   $97.50       0.3     B1        Communications re assets held by sheriff.
1/20/2020             MASTRANGELO, ANGELA   $32.50       0.1     B1        Communications re turn over of monies.
1/22/2020             MASTRANGELO, ANGELA   $32.50       0.1     B1        Communications re unclaimed funds held by Sheriff.
1/24/2020             MASTRANGELO, ANGELA   $97.50       0.3     B19       Conf w/counsel to Wells Fargo re stipulation resolving motion.
1/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17       Communications from creditors re status.
1/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B19       Communications from counsel re revised stipulation.

1/29/2020             SCHMIDT, COLEEN M.    $39.00       0.2     B14        Analyze Court order regarding potential dismissal of adversary proceeding for lack of prosecution.
1/29/2020             MASTRANGELO, ANGELA   $65.00       0.2     B14        Communications with Mark Pfieffer re litigation status.
1/30/2020             MASTRANGELO, ANGELA   $97.50       0.3     B14        Finalize stipulation; email to counsel re same.
                                                                            Prepare 13th stipulation for extension of time to answer or otherwise respond to plaintiff's adversary
1/30/2020             SCHMIDT, COLEEN M.    $58.50       0.3     B14        complaint.
1/31/2020             MASTRANGELO, ANGELA   $195.00      0.6     B19        Review, review and finalize stipulation with Wells Fargo.
1/31/2020             MASTRANGELO, ANGELA   $97.50       0.3     B19        Communications with client re same.
1/31/2020             MASTRANGELO, ANGELA   $65.00       0.2     B19        Email to and from counsel re stipulation.
1/31/2020             SCHMIDT, COLEEN M.    $58.50       0.3     B14        Prepare stipulation for settlement for submission to Court.
1/31/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17        Communications with creditor re plan status.
2/3/2020              MASTRANGELO, ANGELA   $65.00       0.2     B14        Communications with counsel re appeals.
2/4/2020              SCHMIDT, COLEEN M.    $39.00       0.2     B14        Analyze order approving stipulation extending time to answer adversary complaint.
2/4/2020              MASTRANGELO, ANGELA   $32.50       0.1     B19        Review order granting stipulation.
2/4/2020              MASTRANGELO, ANGELA   $32.50       0.1     B14        Review order granting stipulation.
2/4/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17        Conf /MDV re mtg with client.
2/6/2020              MASTRANGELO, ANGELA   $32.50       0.1     B8         Review correspondence from Wells Fargo re insurance.
2/7/2020              MASTRANGELO, ANGELA   $65.00       0.2     B17        Communications with JIll Manuel-Coughlin re outstanding amounts owed.
2/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B6         Request payment history for Valley and Church properties.
2/7/2020              MASTRANGELO, ANGELA   $162.50      0.5     B1         Review judgments and payoffs additional information re D Street.
2/7/2020              MASTRANGELO, ANGELA   $65.00       0.2     B1         Email to Pamela Thurmond re D Street, and payment of liens.
2/7/2020              MASTRANGELO, ANGELA   $812.50      2.5     B14        Draft answer to complaint.
2/10/2020             MASTRANGELO, ANGELA   $32.50       0.1     B8         Communications with client re outstanding post-petition payments.
2/11/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20        Communication from UST's office.
2/11/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20        Communications with client re Dec MOR and payment of fees.
                                                                            Analyze response to order to prosecute adversary proceeding regarding request for Court to not
2/11/2020             SCHMIDT, COLEEN M.    $39.00       0.2     B14        dismiss case.
2/12/2020             MASTRANGELO, ANGELA   $65.00       0.2     B6         Review payment history re Church Street.
2/12/2020             MASTRANGELO, ANGELA   $65.00       0.2     B6         Review payment history re Valley.
2/12/2020             MASTRANGELO, ANGELA   $227.50      0.7     B6         Communications with client status of current rentals, sales, and rehabs.
2/18/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20        Email from client re MOR.
2/19/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17        Follow up with Jill Manuel re objection to confirmation.
2/19/2020             MASTRANGELO, ANGELA   $65.00       0.2     B1         Communications with Pamela Thurmond re Sheriff proceeds.
2/20/2020             MASTRANGELO, ANGELA   $227.50      0.7     B17        Conf with counsel to PNC re treatment of claims and voting on the plan.
2/20/2020             MASTRANGELO, ANGELA   $65.00       0.2     B17        Communications with client re plan terms.
2/20/2020             MASTRANGELO, ANGELA   $1,267.50    3.9     B14        Draft answer, affirmative defenses, and counterclaims.
2/20/2020             MASTRANGELO, ANGELA   $32.50       0.1     B1         Email to Pamela Thurmond re Sheriff funds.
2/24/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6         Correspondence from Wells Fargo re insurance.
2/25/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17        Call from UST re confirmation hearing.
2/25/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17        Communication from Mark Pfeiffer re confirmation hearing.



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2/25/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Conf w/MDV re status of confirmation hearing.
2/25/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications with client re insurance for properties.
2/26/2020             MASTRANGELO, ANGELA   $97.50       0.3     B20         Review and finalize December MOR.
                                                                             Prepare December 2019 monthly operating report for submission to Court, trustee, and all other
2/26/2020             SCHMIDT, COLEEN M.    $58.50       0.3     B7          parties.
2/26/2020             MASTRANGELO, ANGELA   $487.50      1.5     B14         Continue drafting answer to complaint.
2/26/2020             MASTRANGELO, ANGELA   $65.00       0.2     B1          Communications with counsel to PNC re sheriff funds.
2/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Conf w/Mark Pfeiffer re plan and objections.
2/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B14         Communications with Mark Pfeiffer re litigation.
2/27/2020             MASTRANGELO, ANGELA   $227.50      0.7     B17         Prepare for and participate in conference call with counsel to PNC bank.
2/27/2020             MASTRANGELO, ANGELA   $845.00      2.6     B14         Draft answer and counterclaims.
2/28/2020             MASTRANGELO, ANGELA   $65.00       0.2     B1          Communications with Pamela Thurmond re sheriff's funds.
3/2/2020              MASTRANGELO, ANGELA   $97.50       0.3     B1          Communications with Pamela Thurmond re Sheriff funds.
                                                                             Prepare 14th stipulation extending time to respond to complaint in adversary proceeding for
3/3/2020              SCHMIDT, COLEEN M.    $58.50       0.3     B14         submission to Court.
3/3/2020              MASTRANGELO, ANGELA   $162.50      0.5     B17         Communications with creditors re plan and disclosure statement.
3/3/2020              MASTRANGELO, ANGELA   $65.00       0.2     B17         Conf w/court re hearings.
3/3/2020              MASTRANGELO, ANGELA   $32.50       0.1     B14         Draft stipulation.
3/3/2020              MASTRANGELO, ANGELA   $32.50       0.1     B14         Communications with CS re stipulation.
                                                                             Analyze 14th stipulation extending time to answer complaint in adversary proceeding regarding new
3/4/2020              SCHMIDT, COLEEN M.    $39.00       0.2     B14         date for answer or other response.
3/9/2020              MASTRANGELO, ANGELA   $32.50       0.1     B20         Email from UST re January Report.
3/9/2020              MASTRANGELO, ANGELA   $65.00       0.2     B17         Call and email from creditor re status update.
3/11/2020             MASTRANGELO, ANGELA   $747.50      2.3     B14         Draft answer to complaint.
3/12/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications from creditors re plan.
3/17/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications from Wells Fargo re escrows; email to client re same.
3/23/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20         Communications with client re reporting.
3/25/2020             MASTRANGELO, ANGELA   $715.00      2.2     B14         Review state court pleadings and proofs of claim.
3/25/2020             MASTRANGELO, ANGELA   $780.00      2.4     B14         Draft facts for counterclaims.
3/26/2020             MASTRANGELO, ANGELA   $1,202.50    3.7     B14         Draft objection to proofs of claim.
3/29/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20         Follow up with client re reports.
4/1/2020              MASTRANGELO, ANGELA   $65.00       0.2     B20         Communications with client re reports.
4/3/2020              MASTRANGELO, ANGELA   $32.50       0.1     B20         Email from client re MOR.
4/6/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications from Mark Pfieffer re hearing and adjournment.
4/6/2020              MASTRANGELO, ANGELA   $65.00       0.2     B17         Emails to and from counsel re adjourning hearing.
4/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications with court re adjourning hearing and status conference.
4/7/2020              MASTRANGELO, ANGELA   $65.00       0.2     B6          Communications from counsel to the city re 2020 property taxes.
4/7/2020              MASTRANGELO, ANGELA   $65.00       0.2     B6          Communications with client re status of properties and tax payments.
4/7/2020              MASTRANGELO, ANGELA   $65.00       0.2     B20         Review MOR.
4/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B20         Communications with UST re reports.
4/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications with counsel re resolution of objections.
4/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications with MDV re hearings.
4/7/2020              MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications with Counsel re adjournment of hearing and new date.
4/9/2020              SCHMIDT, COLEEN M.    $78.00       0.4     B7          Prepare January 2020 monthly operating report for submission to Court.
4/9/2020              MASTRANGELO, ANGELA   $32.50       0.1     B20         Finalize January Report.
4/10/2020             MASTRANGELO, ANGELA   $32.50       0.1     B7          Communications from UST re MOR.
4/10/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications to client re operations.
4/10/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Communications with MDV re status and questions from UST.
4/15/2020             MASTRANGELO, ANGELA   $390.00      1.2     B14         Cont drafting 3rd party complaint.

4/16/2020             SCHMIDT, COLEEN M.    $39.00       0.2     B7          Analyze City of Philadelphia's supplement in support of motion to convert to chapter 7 or to dismiss.
                                                                             Analyze City of Philadelphia's supplemental motion to convert to chapter 7 regarding date for hearing
4/20/2020             SCHMIDT, COLEEN M.    $58.50       0.3     B7          and objections to motion.
4/20/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Analysis of Supplement to Motion to Convert and payments re 2020 property taxes.
4/22/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20         Email from UST's office re MORs.
4/22/2020             MASTRANGELO, ANGELA   $32.50       0.1     B17         Communication from creditor re plan status.
4/24/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20         Correspondence from client re MOR.
4/24/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communication with counsel to the city re payment plan for 2020 taxes.
                                                                             Communications from and to counsel for the city regarding payment plan, and supplement to motion
4/26/2020             MASTRANGELO, ANGELA   $65.00       0.2     B6          to convert.
4/27/2020             MASTRANGELO, ANGELA   $65.00       0.2     B6          Correspondence with counsel to the city regarding payment plan.
4/27/2020             MASTRANGELO, ANGELA   $942.50      2.9     B14         Continue drafting objection to POCs and counterclaims.
4/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications with MDV re status of payment plan.
4/27/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications w/client re MOR and payment plan.
4/28/2020             MASTRANGELO, ANGELA   $32.50       0.1     B20         Communications with CS re MOR.

4/28/2020             SCHMIDT, COLEEN M.    $156.00      0.8     B7          Prepare debtor's monthly operating report from February 2020 for submission to Court and trustees.
4/28/2020             MASTRANGELO, ANGELA   $32.50       0.1     B6          Communications with MDV re business operations.
4/28/2020             MASTRANGELO, ANGELA   $65.00       0.2     B6          Communications with counsel to the city of Philadelphia re 2020 taxes.



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4/29/2020             MASTRANGELO, ANGELA   $227.50    0.7     B6          Analysis of information from city of Philadelphia and request additional information.
4/29/2020             MASTRANGELO, ANGELA   $65.00     0.2     B6          Communications with client re payment plan and business operations.
4/30/2020             MASTRANGELO, ANGELA   $65.00     0.2     B20         Review March MOR and rentals.
4/30/2020             SCHMIDT, COLEEN M.    $97.50     0.5     B7          Prepare March 2020 monthly operating report for submission to Court and trustees.
4/30/2020             MASTRANGELO, ANGELA   $32.50     0.1     B20         Communication with CS re MOR.
4/30/2020             MASTRANGELO, ANGELA   $65.00     0.2     B6          Communications with client re business operations and payment of 2020 taxes.
5/1/2020              MASTRANGELO, ANGELA   $195.00    0.6     B14         Cont draft objections to claims.
5/1/2020              MASTRANGELO, ANGELA   $325.00    1       B14         Draft adversary and counterclaims.
5/5/2020              MASTRANGELO, ANGELA   $130.00    0.4     B17         Communications with the city of Philadelphia resolving objection to plan.
5/7/2020              MASTRANGELO, ANGELA   $65.00     0.2     B17         Communications with chambers re procedures for hearing.
5/8/2020              MASTRANGELO, ANGELA   $65.00     0.2     B14         Communications with Mark Pfeiffer re adversary.
                                                                           Prepare 15th stipulation extending time to respond to adversary complaint for submission to Court
5/8/2020              SCHMIDT, COLEEN M.    $78.00     0.4     B14         and approval of deadline extension.
5/8/2020              MASTRANGELO, ANGELA   $65.00     0.2     B14         Finalize stipulation and communications with CS re same.
                                                                           Communications with counsel re status of hearing and proposed order resolving the bank's
5/11/2020             MASTRANGELO, ANGELA   $97.50     0.3     B17         objections.
5/11/2020             MASTRANGELO, ANGELA   $97.50     0.3     B17         Communications with UST re hearings.
5/11/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17         Conf w/Karina Voulter regarding objections and sale of property under the plan.
5/11/2020             MASTRANGELO, ANGELA   $32.50     0.1     B7          Email from UST re administration of estate.
5/11/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17         Research re extension of deadlines in a small business case.
5/11/2020             MASTRANGELO, ANGELA   $325.00    1       B17         Preparation for hearing.
5/11/2020             VAGNONI, MICHAEL D.   $70.00     0.2     B14         Review emails re: hearing on Disclosure Statement/confirmation.
5/11/2020             VAGNONI, MICHAEL D.   $70.00     0.2     B14         Telephone call to A. Mastrangelo re: status and strategy.
5/12/2020             MASTRANGELO, ANGELA   $487.50    1.5     B17         Prepare for and attend hearing on disclosure statement and motion to convert.
5/12/2020             MASTRANGELO, ANGELA   $227.50    0.7     B17         Research 1121 extensions and deadlines.
5/12/2020             MASTRANGELO, ANGELA   $65.00     0.2     B17         Communication with UST re plan and disclosure statement.
5/12/2020             MASTRANGELO, ANGELA   $97.50     0.3     B6          Communications with UST re quarterly fees and MOR; communication with client re same.
5/12/2020             MASTRANGELO, ANGELA   $65.00     0.2     B17         Conference with MDV re hearing.
5/12/2020             MASTRANGELO, ANGELA   $65.00     0.2     B17         Communications with MDV re 1121 and deadlines.
5/13/2020             MASTRANGELO, ANGELA   $162.50    0.5     B14         Draft objection to claims.
5/14/2020             MASTRANGELO, ANGELA   $487.50    1.5     B14         Finish drafting claims objection.
5/14/2020             MASTRANGELO, ANGELA   $617.50    1.9     B14         Finish drafting third party complaint.
5/14/2020             MASTRANGELO, ANGELA   $32.50     0.1     B6          Correspondence from counsel re mortgage forbearance.
5/14/2020             VAGNONI, MICHAEL D.   $35.00     0.1     B14         Review email from Powers Kirn re: mortgage payments.

5/14/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B14         Analyze 15th stipulation extending time for debtor to respond to complaint in adversary case.
                                                                           Analyze notice of Wells Fargo of debtor's request for loan forbearance regarding 79 Redwood Drive
5/15/2020             SCHMIDT, COLEEN M.    $58.50     0.3     B7          and requested relief in response to covid-19.
5/15/2020             VAGNONI, MICHAEL D.   $70.00     0.2     B14         Review mortgage forbearance and discuss with A. Mastrangelo.
5/15/2020             VAGNONI, MICHAEL D.   $70.00     0.2     B14         Respond to attorney re: mortgage forbearance.
5/18/2020             MASTRANGELO, ANGELA   $97.50     0.3     B6          Review notice and certification of forbearance regarding primary residence.
5/18/2020             MASTRANGELO, ANGELA   $97.50     0.3     B6          Review forbearance agreements for 2 properties; email to client r same.
5/19/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17         Conf w/Amy Mansfield regarding status of plan; email information.
5/26/2020             MASTRANGELO, ANGELA   $65.00     0.2     B20         Communications from UST re quarterly fees; communications with client re same.
5/27/2020             MASTRANGELO, ANGELA   $32.50     0.1     B20         Communications with UST re quarterly payment.
5/28/2020             MASTRANGELO, ANGELA   $32.50     0.1     B6          Review Wells Fargo Notice of Forbeareance; email to client re same.
5/28/2020             MASTRANGELO, ANGELA   $32.50     0.1     B14         Communications with MV regarding answer and counterclaims.
                                                                           Analyze notice of forbearance agreement between debtor and Wells Fargo regarding suspension of
5/28/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B7          mortgage payments.
5/28/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17         Revise Plan and disclosure statement.
                                                                           Review provisions for plan and disclosure statement; review outstanding settlement of plan
6/1/2020              MASTRANGELO, ANGELA   $487.50    1.5     B17         objections.
6/2/2020              MASTRANGELO, ANGELA   $97.50     0.3     B6          Communications re forbearance.
6/8/2020              MASTRANGELO, ANGELA   $325.00    1       B17         Analysis of outstanding objections re plan and disclosure statement.
6/8/2020              SCHMIDT, COLEEN M.    $58.50     0.3     B14         Analyze stipulation to extend deadline for response to adversary complaint to 7/31/2020.

6/9/2020              MASTRANGELO, ANGELA   $162.50    0.5     B17         Communications from counsel re plan and disclosure statement and resolutions of objections.
6/9/2020              MASTRANGELO, ANGELA   $65.00     0.2     B17         Communication with the court re adjournment.
6/9/2020              MASTRANGELO, ANGELA   $325.00    1       B17         Analysis of plan re amendments.

6/10/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B14         Analyze Court approved 16th stipulation extending time to respond to adversary complaint.
6/12/2020             MASTRANGELO, ANGELA   $617.50    1.9     B17         Analysis of claims and revisions to plan and disclosure statement.
6/17/2020             MASTRANGELO, ANGELA   $97.50     0.3     B6          Communications from and to counsel to Wells Fargo re insurance policies.
6/25/2020             MASTRANGELO, ANGELA   $32.50     0.1     B20         Communication from UST re monthly reports.
7/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B20         Communication with client re monthly reports.
7/2/2020              MASTRANGELO, ANGELA   $32.50     0.1     B17         Communication with client regarding status of properties and amended plan.
                                                                           Review monthly April and May reports, communications with client regarding rentals and sales of
7/6/2020              MASTRANGELO, ANGELA   $227.50    0.7     B6          property.




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                                                                         Prepare April 2020 monthly operating report and all supporting bank statements for submission to
7/6/2020              SCHMIDT, COLEEN M.    $78.00     0.4     B7        Court.
                                                                         Prepare May 2020 monthly operating report and all supporting bank statements for submission to
7/6/2020              SCHMIDT, COLEEN M.    $78.00     0.4     B7        Court.
7/8/2020              MASTRANGELO, ANGELA   $130.00    0.4     B17       Review and analysis of information from Debtor.
7/8/2020              MASTRANGELO, ANGELA   $32.50     0.1     B17       Conf w/MDV re information provided by Debtor.
7/16/2020             MASTRANGELO, ANGELA   $32.50     0.1     B6        Email to client re correspondence from bank.
                                                                         Communications with counsel re updated status on debtor's business operations; discussion of
7/21/2020             MASTRANGELO, ANGELA   $97.50     0.3     B17       adjournment of heairng.
7/22/2020             MASTRANGELO, ANGELA   $65.00     0.2     B17       Communications with creditors regading confirmation hearing and plan.
7/22/2020             MASTRANGELO, ANGELA   $32.50     0.1     B17       Conference with Denise Kuhn regarding status.
7/22/2020             MASTRANGELO, ANGELA   $32.50     0.1     B17       Call to court regarding adjournment.
7/31/2020             MASTRANGELO, ANGELA   $65.00     0.2     B14       Communications with MDV regarding answer to complaint.
7/31/2020             MASTRANGELO, ANGELA   $32.50     0.1     B14       Communications with Mark Pfeiffer; communciations with CS re same.
8/3/2020              MASTRANGELO, ANGELA   $65.00     0.2     B14       Conference with MDV regarding objections to claims and counterclaims.
8/4/2020              SCHMIDT, COLEEN M.    $58.50     0.3     B14       Analyze order extending time to answer adversary complaint from Nobles to 8/31/2020.
8/12/2020             MASTRANGELO, ANGELA   $65.00     0.2     B14       Conf w/MDV regarding complaint.
                                                                         Analysis of claims regarding answer and counterclaims; revise and finalize draft answer,
8/12/2020             MASTRANGELO, ANGELA   $325.00    1       B14       counterclaims and 3rd party complaint.
8/13/2020             VAGNONI, MICHAEL D.   $735.00    2.1     B14       Review/revise answer and counterclaims; research claim objections.
8/17/2020             MASTRANGELO, ANGELA   $32.50     0.1     B6        Communications from client re MORs and payment to UST.
8/19/2020             MASTRANGELO, ANGELA   $97.50     0.3     B17       Communications with interested parties.
8/19/2020             MASTRANGELO, ANGELA   $97.50     0.3     B17       Preparation for hearing.
8/19/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17       Attend hearing on disclosure statement.
                                                                         Final revisions to plan and disclosure statement; summary of revisions; communications to client re
8/19/2020             MASTRANGELO, ANGELA   $812.50    2.5     B17       same.

8/19/2020             MASTRANGELO, ANGELA   $162.50    0.5     B14         Finalize Answer and Counterclaims; summary re same; communications with client re same.
8/20/2020             MASTRANGELO, ANGELA   $65.00     0.2     B6          Communications with client regarding outstanding items.
8/24/2020             MASTRANGELO, ANGELA   $65.00     0.2     B20         Email from client; analysis of June MOR.
8/24/2020             MASTRANGELO, ANGELA   $65.00     0.2     B20         Email from client; analysis of July MOR.
8/24/2020             MASTRANGELO, ANGELA   $32.50     0.1     B6          Correspondence from PNC; communications with client re same.
                                                                           Prepare June 2020 monthly operating report and all corresponding financial documents for
8/24/2020             SCHMIDT, COLEEN M.    $117.00    0.6     B7          submission to Court and Trustee.
                                                                           Prepare July 2020 monthly operating report and all corresponding financial documents for
8/24/2020             SCHMIDT, COLEEN M.    $117.00    0.6     B7          submission to Court and Trustee.

8/25/2020             MASTRANGELO, ANGELA   $32.50     0.1     B17         Conf w/MDV regarding plan and disclosure statement; communications with client re same.
8/25/2020             VAGNONI, MICHAEL D.   $105.00    0.3     B14         Conference with A. Mastrangelo re: status.

8/28/2020             MASTRANGELO, ANGELA   $487.50    1.5     B17         Conference with client regarding disclosure statement; payments to creditors and the plan process.
8/28/2020             MASTRANGELO, ANGELA   $162.50    0.5     B14         Conference with client regarding claims objections and judgment lien status.
8/28/2020             MASTRANGELO, ANGELA   $325.00    1       B17         Revise and finalize second amended disclosure statement.
8/28/2020             MASTRANGELO, ANGELA   $325.00    1       B17         Revise and finalize second amended plan.
8/28/2020             MASTRANGELO, ANGELA   $162.50    0.5     B17         Preparation of exhibits to disclosure statement.
                                                                           Prepare answer to adversary complaint of Nobles with corresponding counterclaims, and third party
8/31/2020             SCHMIDT, COLEEN M.    $117.00    0.6     B14         claims for submission to Court.
8/31/2020             VAGNONI, MICHAEL D.   $455.00    1.3     B14         Review/revise answer and counterclaims.
                                                                           Analyze trustee's objection to disclosure statement and confirmation of plan regarding alleged
9/3/2020              SCHMIDT, COLEEN M.    $58.50     0.3     B14         inadequacies of plan.

9/11/2020             SCHMIDT, COLEEN M.    $97.50     0.5     B7          Prepare withdrawal of appearance of ALM for submission to Court in main bankruptcy matter.
                                                                           Prepare withdrawal of appearance of ALM for submission to Court in adversary matter against Willie
9/11/2020             SCHMIDT, COLEEN M.    $97.50     0.5     B7          Nobles.

9/16/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B7          Analyze objection of wrongful death creditors' to second amended plan and disclosure statement.

9/17/2020             SCHMIDT, COLEEN M.    $78.00     0.4     B7          Analyze Wells Fargo's objection to second amended disclosure statement and proposed plan.
9/21/2020             VAGNONI, MICHAEL D.   $70.00     0.2     B14         Emails and telephone call to U.S. Trustee re: objection.

9/22/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B14         Analyze stipulation extending time for third party defendants to respond to adversary complaint.

9/22/2020             SCHMIDT, COLEEN M.    $58.50     0.3     B7          Analyze City of Philadelphia's objection to amended disclosure statement and plan of reorganization.
9/22/2020             VAGNONI, MICHAEL D.   $105.00    0.3     B14         Review objections and phone calls to counsel re: hearing.
                                                                           Analyze stipulation extending time for responses to affirmative defenses, counterclaims, and third
9/25/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B14         party complaint in adversary proceeding against Willie Nobles.
                                                                           Analyze order granting extension of time for responses to affirmative defenses, counterclaims, and
9/30/2020             SCHMIDT, COLEEN M.    $39.00     0.2     B14         third party complaint in adversary action verses Willie Nobles.
10/14/2020            SCHMIDT, COLEEN M.    $58.50     0.3     B7          Analyze notification from PNC Bank regarding apparently vacant property.



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Date                  Timekeeper Name        Amount     Hours   Task Code Narrative
10/26/2020            VAGNONI, MICHAEL D.    $140.00    0.4     B14       Emails to and from creditors re: Disclosure Statement.
                                                                          Analyze stipulation to extend time for responses to all pleadings in adversary matter against Willie
10/28/2020            SCHMIDT, COLEEN M.     $39.00     0.2     B14       Nobles.
                                                                          Review agreements of sale for 2051 Wakeling, 1403 Sellers and 124 E. Albanus and draft/revise email
11/4/2020             VAGNONI, MICHAEL D.    $280.00    0.8     B14       to client re: same.

11/6/2020             SALDUTTI, WILLIAM F.   $354.00    1.2     B7         General Analysis of Matter to Draft Foreclosure Withdrawal Letter and Motions to Sell Properties
11/6/2020             SALDUTTI, WILLIAM F.   $236.00    0.8     B7         Compose Foreclosure Withdrawal Letter
11/6/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Telephone call from client re: foreclosure; sales.
11/6/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Review foreclosure notice and discuss with W. Saldutti.
11/6/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Draft/revise email to client re: sale of properties.
11/9/2020             SALDUTTI, WILLIAM F.   $88.50     0.3     B7         Analyze and Make Edits to Letter Per MDV Comments
11/9/2020             SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Compose Email to Opposing Counsel with Letter
11/9/2020             SALDUTTI, WILLIAM F.   $236.00    0.8     B7         Examine Example Motions to Draft Sale Motion
11/9/2020             SALDUTTI, WILLIAM F.   $206.50    0.7     B7         Analyze Agreement of Sale and Title Work for 124 Albanus Street
11/9/2020             SALDUTTI, WILLIAM F.   $944.00    3.2     B7         Composed Motion to Sell for Albanus Property
11/9/2020             SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Examine Praecipe to Discontinue Foreclosure Action
11/9/2020             SALDUTTI, WILLIAM F.   $118.00    0.4     B7         Examination of Docket for Filing Dates
11/9/2020             SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Analyze Amended Agreement of Sale
11/10/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7         Add Expedited Argument Section to Motion
11/10/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Research on Expedited Motion Practice in PA
11/10/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Edit Motion to Sell Property
11/11/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Telephone Call with MDV Concerning Motion to Sell
11/13/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Analyze Information from Client for 2051 Wakeling Street
11/13/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Analyze Change in terms agreement to Agreement of Sale
11/13/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Analyze Information from Client on Sale of 1403 Sellers Street
11/13/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Analyze Change it Terms Agreement for Agreement of Sale for 1403 Sellers
11/13/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7         Examine Matter for Original Agreements of Sale
11/13/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14        Emails to and from W. Saldutti re: status of motions.
11/16/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7         Begin Drafting Motion to Sell for 2051 Wakeling
11/17/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Edit 2051 Wakeling Motion to Sell
11/17/2020            SALDUTTI, WILLIAM F.   $206.50    0.7     B7         Begin Drafting Motion to Sell for 1403 Sellers Street
11/18/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Telephone Call with MDV Discussing Agreements of Sale
11/19/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Analyze Agreement of Sale for 1403 Sellers to Continue Drafting Motion to Sell
11/19/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7         Analyze Agreement of Sale for 2051 Wakeling to Continue Drafting Agreement of Sale
11/19/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7         Edit Motion to Sell for 2051 Wakeling
11/19/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7         Edit Motion to Sell for 1403 Sellers
11/19/2020            VAGNONI, MICHAEL D.    $35.00     0.1     B14        Emails to and from W. Saldutti re: status of motions.
11/20/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7         Examine Information from Debtor on Sellers Property
11/20/2020            SALDUTTI, WILLIAM F.   $295.00    1       B7         Edit and Proofread Motion to Sell for Sellers
11/20/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7         Examine Information from Debtor on Wakeling Property
11/20/2020            SALDUTTI, WILLIAM F.   $295.00    1       B7         Edit and Proofread Motion to Sell for Wakeling
11/20/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Examine Service Lists Drafted by C. Schmidt
                                                                           Prepare certificate of service regarding all interested parties to receive motions to sell debtor's Sellers
11/20/2020            SCHMIDT, COLEEN M.     $195.00    1       B7         and Wakeling properties.
11/23/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Analyze MDV's Edits to Motion to Sell for Sellers
11/23/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Make Edits to Motion to Sell for Sellers Based off MDV's Comments
11/23/2020            SALDUTTI, WILLIAM F.   $295.00    1       B7         Edits to Motion to Sell for Wakeling Based on MDV's Edits to Seller's Motion
11/23/2020            VAGNONI, MICHAEL D.    $140.00    0.4     B14        Review motion to approve sale.
11/24/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14        Emails to and from P. Thrumond re: status.
11/24/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14        Email and telephone call to M. Pfieffer re: status.
11/27/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Complete and Forward Form to City of Philadelphia for Water Bills
11/30/2020            FALK, TURNER N.        $118.00    0.4     B4         ANalysis of judgment entry timing and standards for perfection.
11/30/2020            SALDUTTI, WILLIAM F.   $236.00    0.8     B7         Approve Edits and Make Clean Copies of Sellers and Wakeling Motions to Sell
11/30/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Analyze Agreement of Sale for Albanus Property
11/30/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7         Examine Lien Email from City of Philadelphia
11/30/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7         Analyze Bankruptcy Docket for PNC Lien Amount
12/1/2020             SALDUTTI, WILLIAM F.   $118.00    0.4     B7         Pull PNC Lien Amount from Bankruptcy Docket/ Analyze Schedule D
12/1/2020             SALDUTTI, WILLIAM F.   $147.50    0.5     B7         Edit and Produce Clean Version of Wakeling Motion
12/1/2020             SALDUTTI, WILLIAM F.   $29.50     0.1     B7         Compose Email Forwarding Motion Drafts to Client
12/1/2020             SALDUTTI, WILLIAM F.   $472.00    1.6     B7         Edit Motion to Sell for Albanus
12/1/2020             SALDUTTI, WILLIAM F.   $88.50     0.3     B7         Prepare and Forward Water Form to City of Philadelphia
12/1/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Phone conferences and emails with P. Thurmond re: status.
12/1/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Phone conferences and emails with W. Saldutti re: status.
12/1/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Phone conferences and emails with M. Pfeiffer re: status.
12/1/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Phone conferences and emails with J. Coglin re: status.
12/1/2020             VAGNONI, MICHAEL D.    $70.00     0.2     B14        Phone conferences and emails with chambers re: hearings.
12/1/2020             SCHMIDT, COLEEN M.     $60.00     0.3     B7         Analyze stipulation extending time for responses to amended pleadings in adversary case.
12/2/2020             SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Proofread Albanus Motion to Sell



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12/2/2020             SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Analyze Email from Client and Settlement Date Addendums
12/2/2020             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Edit Wakeling Motion to Sell In Accordance with Change in Terms Addendum
12/2/2020             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Edit Sellers Motion to Sell In Accordance with Change in Terms Addendum
12/2/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Recomplete and Resend Water Bill Request - Wakeling
12/3/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Examine Email from City of Philadelphia Water
12/3/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Resend Water REquest for Albanus
12/3/2020             SCHMIDT, COLEEN M.     $40.00       0.2     B7          Analyze order extending time for responses to amended pleadings in adversary case.
12/7/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Compose Follow Up Email to City of Philadelphia Re Wakeling Water
12/7/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Wakeling Judgment Numbers Provided by the City
12/7/2020             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Prepare Sellers Motion for Filing
12/7/2020             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Prepare Wakeling Motion for Filing

12/7/2020             GEORGE, EDMOND M.      $120.00      0.3     B14         Review client emails; emails with M. Vagnoni and W. Saldutti re: status of motions and filing.
12/7/2020             VAGNONI, MICHAEL D.    $105.00      0.3     B14         Emails to and from W. Saldutti re: status of sale motions.
12/8/2020             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Edit Sellers Motion with Code 33 Judgments
12/8/2020             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Edit Wakeling Motion with Code 33 Judgments
12/8/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Respond to Client's Email Re: Filing Status of Motions
12/8/2020             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Examine Proof of Claims for City Parcel Numbers
12/8/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Edit Albanus Motion to Sell with New Creditor Information
12/8/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Telephone Call with MDV Discussing Motions
12/8/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Telephone Call with C. Schmidt Discussing Exhibits
12/8/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Filed Motions to Sell
12/8/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Compose Email Forwarding Completed and Filed Sellers and Wakeling Motions to client
12/8/2020             VAGNONI, MICHAEL D.    $105.00      0.3     B14         Review/revise motions to sell free and clear; telephone call from W. Saldutti re: same.

12/8/2020             SCHMIDT, COLEEN M.     $260.00      1.3     B18         Prepare motion to sell Sellers property with all corresponding exhibits for submission to Court.

12/8/2020             SCHMIDT, COLEEN M.     $300.00      1.5     B18         Prepare motion to sell Wakeling property with all corresponding exhibits for submission to Court.
12/9/2020             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Examine Voicemail from Judge's Deputy
12/9/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Analyze Motions to Sell for Correct Date of Sale
12/9/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Telephone Call/Voicemail to Judge's Deputy
12/9/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Notices of Hearing Dates
12/9/2020             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Analyze Orders Setting Hearing Dates for Sellers and Wakeling Motion to SEll
12/9/2020             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Compose Email to Client Notifying of HEaring Dates
                                                                              Analyze order granting expedited consideration of motion to sell Wakeling property regarding date of
12/9/2020             SCHMIDT, COLEEN M.     $40.00       0.2     B7          hearing and service requirements.
                                                                              Analyze order granting expedited consideration of motion to sell Sellers property regarding date of
12/9/2020             SCHMIDT, COLEEN M.     $40.00       0.2     B7          hearing and service requirements.
                                                                              Prepare motion to sell Wakeling property and corresponding order for expedited consideration for
12/9/2020             SCHMIDT, COLEEN M.     $160.00      0.8     B7          service on all parties as required by Court order.
                                                                              Prepare motion to sell Sellers property and corresponding order for expedited consideration for
12/9/2020             SCHMIDT, COLEEN M.     $160.00      0.8     B7          service on all parties as required by Court order.
12/9/2020             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Prepare Albanus Motion to Sell for Filing
12/10/2020            SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Analyze Amount Due on Water for Wakeling
12/11/2020            SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Telephone Call to MDV Re Albanus Settlement Date
12/11/2020            SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Compose Email to Client Re Albanus Settlement Date
12/11/2020            SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Proofread Albanus Motion to Sell
12/11/2020            SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Analyze new Agreement of Sale for Albanus
12/11/2020            SALDUTTI, WILLIAM F.   $177.00      0.6     B7          Edit Albanus Motion to Sell Per New Agreement of Sale
12/11/2020            SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Prepare and Print Documents for HEarings
12/11/2020            SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Compose Follow Up Email to City Water for Albanus
12/14/2020            SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Set Up Conference Call with Client
12/14/2020            SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Prepare for Telephone Call with Client
12/14/2020            SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Strategy Telephone Call with MDV and Client
12/14/2020            SALDUTTI, WILLIAM F.   $236.00      0.8     B7          Analyze Objections to Motions to Sell
12/14/2020            SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Set Up New Conference Call with Client
12/14/2020            SALDUTTI, WILLIAM F.   $295.00      1       B7          Research on Valuation of Property Opinion by Owner
12/14/2020            SALDUTTI, WILLIAM F.   $206.50      0.7     B7          Research/ Overview of 363(f)(3)
12/14/2020            VAGNONI, MICHAEL D.    $1,190.00    3.4     B14         Prepare for hearing on Motion to Sell.
12/14/2020            VAGNONI, MICHAEL D.    $280.00      0.8     B14         Review MORs re: filing; discuss with C. Schmidt.
12/14/2020            VAGNONI, MICHAEL D.    $210.00      0.6     B14         Conferences with W. Saldutti re: strategy.

12/14/2020            SCHMIDT, COLEEN M.     $100.00      0.5     B7          Analyze objection of wrongful death creditors to motions to sell Sellers and Wakeling properties.
12/15/2020            SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Examine Question Outlines from MDV and Prepare for Telephone Call with Client
12/15/2020            SALDUTTI, WILLIAM F.   $649.00      2.2     B7          Strategy Call with Client and MDV
12/15/2020            SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Telephone Call with MDV Discussing Hearing
12/15/2020            SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Assist MDV with Hearing Preparation
12/15/2020            SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Certificates of Service
12/15/2020            SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Further Research into 363(f)(3)



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12/15/2020            FALK, TURNER N.        $31.50     0.1     B4          After-hearing strategy call w MDV.
12/15/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Telephone Call with MDV Discussing Hearing Outcome and Order
12/15/2020            SALDUTTI, WILLIAM F.   $295.00    1       B7          Compose Consent Order for Motions to Sell Wakeling and Sellers
12/15/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examine Notices from Wells Fargo on Mortgages
12/15/2020            SALDUTTI, WILLIAM F.   $206.50    0.7     B7          Analyze Sellers Title Report
12/15/2020            GEORGE, EDMOND M.      $160.00    0.4     B14         Conference M. Vagnoni re: sale issues for hearing.
12/15/2020            VAGNONI, MICHAEL D.    $420.00    1.2     B14         Preparation for heraings - testimony outline.
12/15/2020            VAGNONI, MICHAEL D.    $385.00    1.1     B14         Phone conference with client re: strategy.
12/15/2020            VAGNONI, MICHAEL D.    $315.00    0.9     B14         Negotiations with creditors re: resolution.
12/15/2020            VAGNONI, MICHAEL D.    $245.00    0.7     B14         Attend hearing re: sale of properties.
12/15/2020            VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review/revise order approving sales.
                                                                            Prepare certificate of service for motion to sell Sellers property for submission to Court in advance of
12/15/2020            SCHMIDT, COLEEN M.     $100.00    0.5     B18         hearing on the same.
                                                                            Prepare certificate of service for motion to sell Wakeling property for submission to Court in advance
12/15/2020            SCHMIDT, COLEEN M.     $100.00    0.5     B18         of hearing on the same.

12/15/2020            SCHMIDT, COLEEN M.     $80.00     0.4     B18         Analyze City of Philadelphia's limited objection to motions to sell Sellers and Wakeling properties.
                                                                            Prepare debtor's August 2020 monthly operating report and all supporting documents for submission
12/15/2020            SCHMIDT, COLEEN M.     $160.00    0.8     B7          to Court.
                                                                            Prepare debtor's September 2020 monthly operating report and all supporting documents for
12/15/2020            SCHMIDT, COLEEN M.     $160.00    0.8     B7          submission to Court.
12/16/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Telephone Call to Title Company
12/16/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Compose Email to Title Company Re Title Report
12/16/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examine Changes from MDV to Consent Order
12/16/2020            SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Communications With Title Agent on Sellers Property
12/16/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call with MDV Discussing Amount Due to Clear Title
12/16/2020            SALDUTTI, WILLIAM F.   $531.00    1.8     B7          Examination of Title Work and Calculations of Amount Due
12/16/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Examine Emails Between MDV and Counsel
12/16/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Analyze Emails and Numbers from Pamela Thurmond/City of Philadelphia
12/16/2020            VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review revisions to order approving sale.
12/16/2020            VAGNONI, MICHAEL D.    $105.00    0.3     B14         Conversations with counsel re: order approving sale.
12/16/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to client re: consent order.
12/16/2020            VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails to and from counsel re: consent order.
12/16/2020            VAGNONI, MICHAEL D.    $140.00    0.4     B14         Revisions to consent order.
12/17/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Edit Consent Order with Signatures and Prepare for Filing
12/17/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examines Emails from City of Philadelphia
12/17/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call to Title Company Re HUD-1
12/17/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B15         Compose Follow Up Email to Title Company Re HUD-1
12/17/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B15         Telephone Call with MDV Discussing Title Work/ Closings
12/17/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B15         Telephone Call with Title Agent Discussing Title Report and Hud-1
12/17/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B15         Examine Emails and Information from Title Agent
12/17/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Compose Email to Foundation Title Re Potential Title Work
12/17/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B15         Emails with Foundation Title
12/17/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to chambers re: status of order.
12/17/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to chambers re: order.
12/17/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to W. Saldutti re: closing.
12/17/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Email to client re: title company.
12/17/2020            VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review title documents and discuss with W. Saldutti.
12/17/2020            SCHMIDT, COLEEN M.     $60.00     0.3     B18         Analyze consent order granting motions to sell Sellers and Wakeling properties.
12/18/2020            SALDUTTI, WILLIAM F.   $442.50    1.5     B15         Analysis of Outstanding Judgments/Dockets from Title Company's Info
12/18/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Compose Email to Client Re Settlement Date and Judgments
12/18/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analysis of PNC Payoff and Assignment of Mortgage
12/18/2020            SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Emails with Title Company Re HUD-1
12/18/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up Telephone Call/Voicemail to Title Agent
12/18/2020            VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review title report and emails to and from W. Saldutti re: same.
12/18/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Email from secured lender re: payoff and discuss with W. Saldutti.
12/18/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from title company re: closing.
12/18/2020            VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from P. Thurmond re: closing.
12/21/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Analyze Change in Terms Agreement for Sellers
12/21/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Edit Consent Order for Sellers New Date
12/21/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Follow Up Emails with Title Company Re HUD-1
12/22/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up Email to Title Agent
12/22/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Emails with Client Re Title
12/22/2020            VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails to and from group re: closing.
12/23/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Emails with Client RE Title Company
12/28/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Analyze Email from Client on Closing
12/28/2020            SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Analyze Documents Sent to Client from Title Company
12/29/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B15         Examine Email from Client Concerning Title Company Info
12/29/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examine Consent Order to Sell as Filed/Entered



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Date                  Timekeeper Name        Amount     Hours   Task Code Narrative
12/29/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Discuss Title Agent Documents/Order
12/29/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Compose Email to Title Agent Re Consent Order
                                                                          Analyze consent order authorizing sale of Sellers and Wakeling properties regarding issues raised by
12/29/2020            SCHMIDT, COLEEN M.     $140.00    0.7     B7        title agent and edits needed prior to closing of sales on properties.
12/30/2020            SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Emails Updating Client
12/30/2020            SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Emails with Title Agent Re HUD-1
12/31/2020            SALDUTTI, WILLIAM F.   $118.00    0.4     B7        Emails with Title Agent Regarding Sellers Closing
12/31/2020            SALDUTTI, WILLIAM F.   $177.00    0.6     B7        Analyze Drafted Settlement Agreement from Title Agent
1/4/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7        Communications with Title Company Re Closing
1/4/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14       Emails to and from group re: closing on sellers.
1/5/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7        Telephone Call with Title Agent
1/5/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Analyze Settlement Statement
1/5/2021              SALDUTTI, WILLIAM F.   $206.50    0.7     B7        Analyze Judgement Payoffs from Title Agent
1/5/2021              SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Examine Abandoned Property Letter from PNC - Tackawanna
1/5/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14       Discussion with title company; W. Saldutti re: Sellers closing.
1/6/2021              SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Telephone Call with MDV Discussing Settlement Sheet
1/6/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Emails with NDF1's Counsel Re Payoff
1/6/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Emails with Client Re Payoff
1/6/2021              SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Analyze Payoff and Late Fees/Interest
1/6/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Emails with P. Thurmond Re City Judgments
1/6/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14       Telephone call to W. Saldutti re: Sellers closing.
1/6/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14       Phone conference with P. Thurmond re: liens.
1/6/2021              VAGNONI, MICHAEL D.    $35.00     0.1     B14       Draft/revise email to client re: MORs.
1/7/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7        Conference with MDV and P. Thurmond Re Water Judgments
1/7/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7        Telephone Call with P. Thurmond Re Water Judgments
1/7/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Analyze Water Judgment Figures
1/7/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Telephone Call with MDV Discussing City's Comments
1/7/2021              SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Analyze Distribution on Sheriff's Sale for Torresdale Property
1/7/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Telephone Call to Title Company Re Judgments
1/7/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Emails with Client Re Occupancy
1/7/2021              SALDUTTI, WILLIAM F.   $236.00    0.8     B7        Analyze Email and Water Judgment Figures from P. Thurmond
1/7/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Follow Up Emails with PNC's Counsel
1/7/2021              VAGNONI, MICHAEL D.    $140.00    0.4     B14       Phone conference re: closing on Sellers.
1/8/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Analyze Mortgage Payoff from NDF1's Counsel
1/8/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Communications with Title Agent Re Payoff
1/8/2021              SALDUTTI, WILLIAM F.   $236.00    0.8     B7        Telephone Call with Title Agent Re Settlement Statement
1/8/2021              SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Examine Updated Settlement Sheet
1/8/2021              SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Communications with NDF1's Counsel Re Payoff
1/12/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Telephone Call with MDV Updating on Settlement Sheet Status
1/12/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Examination of New Settlement Sheet
1/12/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Communications with Title Agent
1/12/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Email to Client Updating on Sale Status of Sellers and Wakeling
1/12/2021             SALDUTTI, WILLIAM F.   $206.50    0.7     B7        Examine and Double check Finalized Settlement Sheet
1/12/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7         Forward Final Settlement Sheet to City's Counsel
1/12/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14       Phone conference with counsel to judgment creditors re: status; mediation.
1/12/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14       Emails to and fro group re: hearing.
1/12/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14       Review MORs and draft/revise email to C. Schmidt re: same.
1/12/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14       Phone conference with P. Thurmond re: taxes.
1/12/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B7        Prepare October 2020 monthly operating report for submission to Court and trustee.
1/12/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B7        Prepare November 2020 monthly operating report for submission to Court.
1/13/2021             SALDUTTI, WILLIAM F.   $236.00    0.8     B7        Examine Code 33 Judgments and Compare to HUD-1
1/13/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Communications with City's Counsel
1/13/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Communications with Title Agent
1/13/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Examine Notice of Deadline to File Plan
1/13/2021             VAGNONI, MICHAEL D.    $315.00    0.9     B14       Prepare for and attend hearing on Disclosure Statement.
1/14/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Examine Letters from Wells Fargo Re Mortgages
1/14/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Examine Emails between MDV and Potential Mediator
1/15/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Follow Up Email to Title Agent on Code 33 Judgments
1/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Examine Voicemail from Wells Fargo
1/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7        Communications with Title Agent Re Code 33 Judgments
1/19/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Compose email to Title Agent for Wakeling Re Settlement Sheet
1/19/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Analyze Title Commitment for Wakeling Property
1/19/2021             SALDUTTI, WILLIAM F.   $177.00    0.6     B7        Analyze Documents and Payoffs from Wakeling Title Agent
1/19/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Forward Wells Fargo Letters to Client
1/20/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Examine Code 33 Judgment Numbers from Sellers Title Agent
1/20/2021             SALDUTTI, WILLIAM F.   $236.00    0.8     B7        Analyze New Settlement Sheet for Sellers
1/20/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7        Forward Updated Sellers Settlement Sheet to City's Attorney
1/20/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7        Communications with Sellers Title Agent Re New SEttlement Sheet
1/21/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7        Compose Order Setting Status Hearing, Etc.



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Date                  Timekeeper Name        Amount     Hours   Task Code   Narrative
1/25/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up Email with Title Agent Re Closing
1/25/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Client Re Wakeling and Sellers Closing
1/26/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Communications from Wells Fargo
1/26/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analyze Settlement Sheet and Judgments for Judgments to Shift to Wakeling
1/26/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analyze Questions from Client and Respond
1/26/2021             GEORGE, EDMOND M.      $80.00     0.2     B14         Review Wells Fargo notices and forward to M. Vagnoni.
1/26/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Revise proposed order.
1/26/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails to and from client and W. Saldutti re: Wells Fargo and Wakeling.
1/28/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Title Agent Re Removal of Judgments
1/28/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Examination and Comparison of Settlement Sheets
1/28/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Analyze Updated Settlement Sheet
1/28/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Forward Updated Settlement Sheet to City's Counsel
1/28/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Forward Sellers Settlement Sheet to Client
1/28/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Phone conference with P. Thurmond re: L&I judgment.
1/28/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to W. Saldutti re: status of closing.
1/29/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Title Agent as to Sellers Closing
1/29/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call with Title Agent Discussing Closing
1/29/2021             SALDUTTI, WILLIAM F.   $236.00    0.8     B7          Strategy Call with Client as to Properties to SEll
2/2/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Title Agent Scheduling Closing for Sellers
2/3/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Title Agent Re Status of Payoffs
2/3/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Client Re Legal Fees on PNC Payoff
2/3/2021              SALDUTTI, WILLIAM F.   $177.00    0.6     B7          Examine PAyoffs and Loan Documents for Legal Free Eplanation
2/3/2021              SALDUTTI, WILLIAM F.   $295.00    1       B7          Strategy Call for Mediation with MDV and Client
2/3/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Emails with NDF1 Attorney Re Attorney Fees
2/3/2021              VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review status of Wakeling and conference with client re; mediation.
                                                                            Analyze all electronic case file locations with regard to locating loan documents for Sellers Street
2/3/2021              SCHMIDT, COLEEN M.     $120.00    0.6     B7          property.
2/4/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Examine Mortgage and Note for Berkshire Property
2/4/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Title Agent Scheduling Closing for Sellers
2/4/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Compose Email and Document Forwarding Sellers Payoff to Wakeling Title Agent
2/4/2021              VAGNONI, MICHAEL D.    $595.00    1.7     B14         Review properties to be sold and review/revise plan.
2/5/2021              SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Wakeling Title Agent Re Closing
2/10/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Title Agent Re Closing
2/10/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Client Re Transferring Judgments
2/10/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Examine Wells Fargo Letter Suspending payments
2/10/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review emails and discuss Sellers sale with W. Saldutti.
                                                                            Prepare proposed order for status hearing and deadlines for plan and disclosure statement for
2/10/2021             SCHMIDT, COLEEN M.     $60.00     0.3     B7          submission to Court.
2/10/2021             SCHMIDT, COLEEN M.     $60.00     0.3     B7          Analyze order setting status hearing and deadlines for plan and disclosure statement.
2/12/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examine Settlement Notice from Title Agent
2/12/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Analyze Settlement Sheet for Additional Fees Added
2/12/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Title Agent RE Closing Amounts
2/12/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications With NDF1's Attorney Re Added Interest
2/16/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review December MOR and draft/revise email to C. Schmidte re: same.
2/16/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B7          Prepare December 2020 monthly operating report for submission to Court.
2/17/2021             VAGNONI, MICHAEL D.    $315.00    0.9     B14         Prepare for and attend status conference with Court.
2/18/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Title Agent Re Sellers Closing
2/18/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Client Re Sellers Closing
2/18/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from W. Saldutti re: closing.
2/18/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from client re: closing.
2/19/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone calls to and form W. Saldutti and V. Maia re: Sellers closing.
2/19/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Email to title company re: checks to Philadelphia.
2/19/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to P. Thurmond re: payoff amounts.
2/24/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from P. Thurmond re: checks.
2/24/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to title company re: issuing Sellers checks.
2/24/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and form title company re: Sellers checks.
2/25/2021             SALDUTTI, WILLIAM F.   $206.50    0.7     B7          Examine Executed Sellers Closing Documents and Signed Checks
2/25/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Communications with Title Agent Re Wakeling Closing
2/25/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analyze Judgment Payoff Sheet from Wakeling Title Agent
2/25/2021             SALDUTTI, WILLIAM F.   $118.00    0.4     B15         Compare Wakeling HUD-1 to PNC Payoff
2/25/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Compose Fax Letter to PNC for Updated Payoff
2/25/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with City's Counsel Re Judgment Payoffs
2/25/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Judgment Payoff Email from City's Counsel
2/25/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Exmaine Fillmore Agreement of Sale
2/25/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails to and from P. Thurmond and w. Saldutti re: wakeling closing.
2/25/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from J. Raineri and M. Pfeiffer re: status.
2/26/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call to PNC Re Wiring Information
2/26/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Analyze PNC Bank Payoff
2/26/2021             SALDUTTI, WILLIAM F.   $442.50    1.5     B7          Research On Department of Revenue Tax Lien and Docket



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Date                  Timekeeper Name        Amount       Hours   Task Code Narrative
                                                                            Communicate and Work with Title Agent and City as to Amount Due, Payoffs, Final Preparation of
2/26/2021             SALDUTTI, WILLIAM F.   $1,622.50    5.5     B7        Settlement Sheet
2/26/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Analyze Wakeling Settlement Sheet
2/26/2021             SCHMIDT, COLEEN M.     $60.00       0.3     B7        Analyze order appointing mediator.

2/26/2021             SCHMIDT, COLEEN M.     $160.00      0.8     B7         Analyze Philadelphia Court of Common Pleas case docket regarding tax lien against Victor Maia.
2/26/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14        Emails to and from client and P. Thurmond re: status of sales.
2/26/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14        Review sale order and draft/revise email to V. Maia re: sale proceeds.
2/26/2021             VAGNONI, MICHAEL D.    $665.00      1.9     B14        Drat/revise mediation statement.
3/1/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B15        Examine Water Payoff from City
3/1/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine Fillmore Street Settlement Addendum
3/1/2021              SALDUTTI, WILLIAM F.   $118.00      0.4     B7         Analyze Updated Settlement Sheet
3/1/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Examine Finalized HUD-1
3/1/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Communications wth Title Agent Re Wakeling Closing Time
3/1/2021              SALDUTTI, WILLIAM F.   $147.50      0.5     B7         Analyze Department of Revenue Judgment Lien against Proof of Claim
3/1/2021              SALDUTTI, WILLIAM F.   $295.00      1       B7         Compose and Edit Motion to Sell Albanus
3/1/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Analyze Addendum to Albanus Agreement of Sale
3/1/2021              SALDUTTI, WILLIAM F.   $206.50      0.7     B7         Begin Drafting Motion to Sell for Fillmore
3/1/2021              SALDUTTI, WILLIAM F.   $236.00      0.8     B7         Cross Reference Judgment List Against Known Judgments
3/1/2021              VAGNONI, MICHAEL D.    $630.00      1.8     B14        Prepare mediation memo and prepare for mediation.
3/1/2021              VAGNONI, MICHAEL D.    $35.00       0.1     B14        Draft/revise email to U.S. Trustee re: property list.
3/1/2021              VAGNONI, MICHAEL D.    $140.00      0.4     B14        Review payoffs for properties and draft/revise property list.

3/1/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14        Review closing documents and emails from W. Saldutti and title company re: Wakeling closing.
                                                                             Analyze Philadelphia Court of Common Please dockets regarding all liens placed on properties owned
3/1/2021              SCHMIDT, COLEEN M.     $140.00      0.7     B7         by debtor.
3/2/2021              SALDUTTI, WILLIAM F.   $147.50      0.5     B7         Edits to Motion to Sell for Albanus
3/2/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine Claims Register for Amounts Due on Albanus and Fillmore
3/2/2021              SALDUTTI, WILLIAM F.   $442.50      1.5     B7         Continue Drafting Motion to Sell - Fillmore
3/2/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Communications with Client as to Fillmore Preparations for Sale
3/2/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine Completed Wakeling Settlement Docs
3/3/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Communications with Title Agents for Fillmore and Albanus
3/3/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Examine Checks from Title Company for Wakeling
3/3/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Calculate Amount PAid to City Through Sellers and Wakeling Sale
3/3/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine Info from Victor Maia on Fillmore
3/3/2021              SALDUTTI, WILLIAM F.   $177.00      0.6     B7         Edit Motion to Sell for Fillmore Based On Client INformation
3/3/2021              VAGNONI, MICHAEL D.    $735.00      2.1     B14        Prepare for and attend status hearing.
3/3/2021              VAGNONI, MICHAEL D.    $70.00       0.2     B14        Email to client re: mediation.
3/3/2021              VAGNONI, MICHAEL D.    $140.00      0.4     B14        Respond to questions from Mediator.
3/4/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Examine Communications Between Title Agent and City Attorney Re Checks
3/4/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Analyze Edits from MDV to Motion to Sell for Fillmore
3/4/2021              SALDUTTI, WILLIAM F.   $147.50      0.5     B7         Edits to Fillmore Motion to Sell Per MDV's Comments
3/4/2021              SALDUTTI, WILLIAM F.   $354.00      1.2     B7         Edits to Albanus Motion to Sell Per MDV's Edits to Fillmore
3/4/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine PA LBR 5070
3/4/2021              SALDUTTI, WILLIAM F.   $147.50      0.5     B7         Prepare Albanus and Fillmore Motions for Filing
3/4/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Compose Email 5070 Notice to Creditors in Interest
3/4/2021              VAGNONI, MICHAEL D.    $455.00      1.3     B14        Review/revise sale motion for Fillmore.
3/4/2021              VAGNONI, MICHAEL D.    $70.00       0.2     B14        Emails to and from W. Saldutti re: motion to sell.
3/4/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14        Emails to and from M. Weiss re: mediation.
3/4/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B7         Analyze notice to clerk regarding acceptance of mediation assignment.
3/5/2021              SALDUTTI, WILLIAM F.   $295.00      1       B7         Prepare Fillmore Motion to Sell for Filing
3/5/2021              SALDUTTI, WILLIAM F.   $206.50      0.7     B7         Edits to Motions to Sell Per MDV's Comments
3/5/2021              SALDUTTI, WILLIAM F.   $118.00      0.4     B7         Final Examination of COmplete Motions to Sell Before Filing
3/5/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7         Telephone Call to Judge Chan's Deputy Re Expedited Hearings
3/5/2021              VAGNONI, MICHAEL D.    $2,555.00    7.3     B14        Participate in mediation.
3/5/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14        Review expedited consideration request.
3/5/2021              VAGNONI, MICHAEL D.    $70.00       0.2     B14        Email to Michelle Yost.
3/5/2021              VAGNONI, MICHAEL D.    $70.00       0.2     B14        Email to group re: motion for expedited consideration to sell.
                                                                             Prepare motion to sell property located at 124 E Albanus Street and all corresponding exhibits for
3/5/2021              SCHMIDT, COLEEN M.     $240.00      1.2     B18        submission to Court.
                                                                             Prepare motion to sell property located at 1641 Fillmore Street and all corresponding exhibits for
3/5/2021              SCHMIDT, COLEEN M.     $240.00      1.2     B18        submission to Court.
                                                                             Prepare motion to sell property located at 124 E Albanus Street for service upon all interested parties
3/5/2021              SCHMIDT, COLEEN M.     $100.00      0.5     B18        in accordance with order expediting consideration.
                                                                             Prepare motion to sell property located at 1641 Fillmore Street for service upon all interested parties
3/5/2021              SCHMIDT, COLEEN M.     $100.00      0.5     B18        in accordance with order expediting consideration.
3/8/2021              SALDUTTI, WILLIAM F.   $118.00      0.4     B7         Examined Signed and Executed Expedited Orders
3/8/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7         Examine Notice for Albanus and Fillmore Compared to Signed ORders




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3/8/2021              SCHMIDT, COLEEN M.     $100.00      0.5     B18       Prepare certificate of service for expedited motion to 124 E Albanus Street for submission to Court.

3/8/2021              SCHMIDT, COLEEN M.     $100.00      0.5     B18       Prepare certificate of service for expedited motion to 1640 Fillmore Street for submission to Court.
3/9/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Telephone Call with P. Thurmond Re Motions to Sell
3/9/2021              SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Examine and Summarize Information from P. Thurmond Re Order Edits.
3/9/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B7        Analyze mediator's report.
3/10/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Edits to Motions to Sell Re City's Edits
3/10/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Communications with Albanus Title Agent
3/10/2021             SALDUTTI, WILLIAM F.   $236.00      0.8     B7        Examine Albanus Title Commitment
3/10/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7        Forward Title Commitment to P. Thurmond
3/10/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Examine Term Sheet with Wrongful Death Creditors
3/10/2021             VAGNONI, MICHAEL D.    $1,120.00    3.2     B14       Prepare for and participate in hearing re: sale of Albanus and Fillmore.
3/10/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14       Phone conference with client re: hearing.
3/10/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14       Phone conference with counsel to City re: hearing and sale motion.
3/10/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14       Phone conference with M> Pfeiffer re: sale hearing.
3/11/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Communications with Albanus Title Agent
3/11/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Communications with Fillmore Title Agent
3/11/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Analyze L&I Judgment Payoff - Albanus
3/11/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Communications with P. Thurmond Re Albanus Judgments
3/11/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Judgment Payoff on Department of Revenue Judgment
3/11/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Communications with Sellers Title Agent Re Checks
3/11/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Edits to Albanus and Fillmore Motion with Sales Price and Full Addresses
3/11/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Examine Mortgage Payoffs for Fillmore and Albanus
3/11/2021             VAGNONI, MICHAEL D.    $140.00      0.4     B14       Revisions to Albanus and Fillmore orders.
3/11/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14       Draft/revise email to group re: orders.
3/11/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14       Draft/revise email to client re: status.
3/12/2021             SALDUTTI, WILLIAM F.   $177.00      0.6     B15       Telephone Calls with Trinity Financial Re Loan Payoff Albanus
3/12/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Telephone Call with Land Home Financial Services Re Albanus Payoff
3/12/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Compose Payoff Request Letter to PNC for Fillmore
3/12/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7        Communications with Sellers Title Agent Re Check Images
3/12/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Compose Third Party Authorization Letter
3/12/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Forward Third Party Authorization and Request Payoff from Trinity
3/12/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Signed Checks from Sellers Title Agent
3/12/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Communications with Fillmore Title Agent
3/12/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Communications with Alabnus Title Agent
3/12/2021             SALDUTTI, WILLIAM F.   $354.00      1.2     B7        Analyze Fillmore Title Work and Related Documents
3/12/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Mediator's Report as to WDC
3/12/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14       Revisions to Sale Orders.
3/12/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14       Draft/revise email to group re: sale orders.
3/12/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14       Further revisions to Sale Orders and circulate to C. Schmidt re: filing.

3/12/2021             SCHMIDT, COLEEN M.     $80.00       0.4     B18       Prepare modified proposed order approving sale of 124 E Albanus Street for submission to Court.

3/12/2021             SCHMIDT, COLEEN M.     $80.00       0.4     B18       Prepare modified proposed order approving sale of 1641 Fillmore Street for submission to Court.
3/15/2021             SALDUTTI, WILLIAM F.   $236.00      0.8     B15       Examine Judgment Payoffs from Fillmore Title Agent
3/15/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B15       Examine PNC Payoff for Fillmore
3/15/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Examine Fillmore and Albanus Orders as Signed
3/15/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Communications with Title Agent for Albanus Re Closing Date
3/15/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Communications with Title Agent for Fillmore Re Closing Date
3/15/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7        Telephone Call with Fillmore Title Agent Re Judgments
3/15/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Letter from PNC Re Abandoned Property - Tackawanna
3/15/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Checks from Wakeling Sale
3/15/2021             SALDUTTI, WILLIAM F.   $206.50      0.7     B7        Search Dockets for Lien Releases of WDCs
3/15/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14       Emails to and from W. Saldutti re: Albanus/Fillmore.
3/15/2021             SCHMIDT, COLEEN M.     $60.00       0.3     B18       Analyze order granting motion to sell property at 124 E. Albanus Street.
3/15/2021             SCHMIDT, COLEEN M.     $60.00       0.3     B18       Analyze order granting motion to sell property at 1641 Fillmore Street.
3/16/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Telephone Call with Trinity Financial Re Payoff
3/16/2021             SALDUTTI, WILLIAM F.   $177.00      0.6     B7        Communications with Fillmore Title Agent Re Settlement
3/16/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Communications with Albanus Title Agent Re Settlement
3/16/2021             SALDUTTI, WILLIAM F.   $177.00      0.6     B7        Analyze Drafted HUD-1 for Fillmore
3/16/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7        Examination of Settlement Notice
3/16/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Emails with Client as to Fillmore and Albanus Settlement Dates
3/16/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Examine Albanus Note for Amount Due to Escrow
3/17/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7        Telephone Call with MDV Discussing Status of Case
3/17/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7        Telephone Call with HB Discussing Checks
3/18/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7        Email to Wakeling Title Agent Re Reissuing Checks
3/18/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7        Examine Docket for Monthly Reports Filed
3/18/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7        Telephone Calls to Trinity Financial Re Payoff



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3/18/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Albanus Title Agent Re Settlement
3/18/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Fillmore Title Agent Re Settlement
3/18/2021             SALDUTTI, WILLIAM F.   $206.50    0.7     B7          Analyze Draft Settlement Sheet for Albanus
3/18/2021             SALDUTTI, WILLIAM F.   $177.00    0.6     B7          Communications with Albanus title Agent re closing date
3/18/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call with MDV Re Albanus Settlement Sheet
3/18/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analyze Trinity Payoff
3/18/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Emails with Trinity Re Payoff Explanation
3/18/2021             SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Analysis of Previous 0% Interest on Trinity Loan and Forward Evidence to Trinity
3/18/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails to and from W. Saldutti and attorneys for wrongful death creditors re: closings.
3/18/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to W. Saldutti re: MORs.
3/19/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Telephone Call with Client RE Property Updates and Closing
3/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Telephone Call with MDV Updating on Maia Call
3/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Albanus Title Agent Re Closing Confirmation
3/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Wakeling Title Agent Re Reissuing Checks
3/19/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Trinity Financing Re Interest Rate
3/19/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Follow Up With Fillmore Title Agent Re: Completed Sale Package
3/22/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Email to Client Following Up on Monthly Operating Reports
3/22/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Fillmore Title Agent Re Executed Docs
3/22/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Albanus Title Agent Re Executed Docs
3/22/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B15         Communications with Wakeling Title Agent Re Canceled Checks
3/22/2021             SALDUTTI, WILLIAM F.   $118.00    0.4     B15         Examination of Cashed Checks from Wakeling Sale
3/22/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Client RE Monthly Reports
3/22/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Analyze Completed and Executed Fillmore Settlement Package
3/22/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up with Trinity Re Albanus Loan
3/22/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review and respond to email from U.S. Trustee.
3/23/2021             SALDUTTI, WILLIAM F.   $236.00    0.8     B7          Analyze Monthly Operating Reports
3/23/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B15         Follow Up Telephone Call to Trinity Re Interest Rate
3/23/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Examine completed Albanus Settlement Sheet
3/23/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with P. Thurmond Re Albanus Update
                                                                            Prepare January 2021 monthly operating report and all corresponding exhibits for submission to
3/23/2021             SCHMIDT, COLEEN M.     $100.00    0.5     B7          Court and trustee.
3/23/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review January MOR and draft/revise email to W. Saldutti re: same.
3/24/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Compose Consent Order to Extend Plan Confirmation Date
3/24/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Telephone Call with MDV Re Consent Ordeer
3/24/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Client Re Monthly Operating Reports
3/24/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B8          Analyze proof of claim number 17 received from Water Revenue Bureau.
3/24/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B8          Analyze amended proof of claim number 1 received from Water Revenue Bureau.
                                                                            Prepare correspondence to client regarding payment received from Bucks County Abstract and
3/24/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B18         required deposit into escrow account.
3/24/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Telphone calls to group re: plan; Disclosure Statement.
3/24/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review/revise order approving adjournment.
3/24/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to group re: order.
3/25/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Albanus Title Agent Re Checks
3/25/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Communications with Wakeling Title Agent Re Reissued Checks
3/25/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Examine Finalized Consent Order
3/25/2021             SALDUTTI, WILLIAM F.   $236.00    0.8     B7          Analyze February Monthly Operating Reports
                                                                            Prepare consent order to extend time for filing of plan and disclosure statement for submission to
3/25/2021             SCHMIDT, COLEEN M.     $100.00    0.5     B17         Court.
                                                                            Phone call to judge's courtroom deputy regarding consent order to extend time for filing of plan and
3/25/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B17         disclosure statement.
3/25/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review/respond to emial from client re: MOR.
3/25/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from group re: consent order.
3/26/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Letter From PNC Counsel on Fillmore
3/26/2021             SALDUTTI, WILLIAM F.   $206.50    0.7     B7          Compose Response Stay Letter to PNC Counsel
3/26/2021             SALDUTTI, WILLIAM F.   $59.00     0.2     B7          Communications with Fillmore Title Agent Re Wire Transfer to PNC
3/26/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Analyze Wire Transfer PRoof
3/26/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B17         Analyze order extending time to submit plan and disclosure statement.
3/26/2021             GEORGE, EDMOND M.      $80.00     0.2     B14         Review PNC correspondence re: defaulted loan.
3/30/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to P. Thurmond re: status; plan.
3/31/2021             SALDUTTI, WILLIAM F.   $177.00    0.6     B7          Telephone Call with Trinity Re Interest Rate
3/31/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up Email with Albanus Title Agent Re Checks
3/31/2021             SALDUTTI, WILLIAM F.   $29.50     0.1     B7          Follow Up Email with Wakeling Title Agent Re Checks
4/1/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Wells Fargo Notices
4/2/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review MOR and draft/revise email to W. Saldutti re: same.
4/5/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Double Check February Monthly Reports Before Filing
                                                                            Prepare February 2021 monthly operating report and all corresponding attachments for submission
4/5/2021              SCHMIDT, COLEEN M.     $160.00    0.8     B20         to Court.
4/6/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Letter from Wells Fargo on Valley Property and Forward to Client
4/6/2021              SCHMIDT, COLEEN M.     $80.00     0.4     B8          Analyze amended proof of claim number 1 from Water Revenue Bureau.



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4/6/2021              SCHMIDT, COLEEN M.     $80.00       0.4     B8          Analyze proof of claim number 18 from Water Revenue Bureau.
4/7/2021              SALDUTTI, WILLIAM F.   $177.00      0.6     B15         Follow Up Call with Trinity Re: Interest
4/7/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B8          Analyze amended proof of claim number 5 from City of Philadelphia School District.
4/7/2021              SCHMIDT, COLEEN M.     $80.00       0.4     B8          Analyze proof of claim number 19 from City of Philadelphia School District.
4/8/2021              SALDUTTI, WILLIAM F.   $59.00       0.2     B15         Examine EMG's Changes to Bankruptcy Letter and Forward for Mailing
4/8/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14         Review proposed changes to consent order and draft/revise email to group re: same.
4/8/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B8          Analyze proof of claim number 25 from Thomas Andresen.
                                                                              Analyze second consent order extending time to file plan and disclosure statement regarding new
4/8/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B17         deadlines.
4/9/2021              SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Telephone Call to Trinity

4/9/2021              SCHMIDT, COLEEN M.     $60.00       0.3     B17         Analyze approved second consent order to extend time to file plan and disclosure statement.
4/13/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Telephone Call to Trinity Re Interest Rates
4/13/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Analyze Wells Letters on Redwoods and Church Properties and Forward to Client
4/13/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Letter from PNC Re Tackwana
4/14/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine and forward WElls Fargo Redwood letter
4/14/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14         Emails to and from the group re: Disclosure Statement hearing.
4/14/2021             VAGNONI, MICHAEL D.    $315.00      0.9     B14         Review/revise plan and Disclosure Statement.

4/14/2021             SCHMIDT, COLEEN M.     $40.00       0.2     B18         Analyze correspondence from Wells Fargo regarding suspension of payments for 79 Redwood Drive.
                                                                              Prepare proposed third consent order extending time for plan and disclosure statement for
4/15/2021             SCHMIDT, COLEEN M.     $100.00      0.5     B17         submission to Court.
                                                                              Phone call to judge's chambers regarding proposed order for new dates to file plan and disclosure
4/15/2021             SCHMIDT, COLEEN M.     $40.00       0.2     B7          statement.
4/16/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B15         Examine Letters from PNC
4/16/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14         Telephone call from A. Mansfield at Goldden Rule Group.
4/16/2021             SCHMIDT, COLEEN M.     $40.00       0.2     B17         Analyze approved third consent order to extend time to file plan and disclosure statement.
4/19/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Examine Department of Revenue Proof of Claim
4/19/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Compose Email to Client Re Monthly Operating Reports
4/19/2021             VAGNONI, MICHAEL D.    $805.00      2.3     B14         Draft/revise plan/Disclosure Statement.
4/20/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Examine Notices from Wells on Redwood and Forward to Client
4/21/2021             SALDUTTI, WILLIAM F.   $177.00      0.6     B7          Examine Third Amended Plan
4/21/2021             VAGNONI, MICHAEL D.    $1,715.00    4.9     B14         Draft/revise plan and Disclosure Statement.
4/21/2021             VAGNONI, MICHAEL D.    $175.00      0.5     B14         Conference with client re: Plan and Disclosure Statement.
4/22/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Examine Albanus Closing Sheet for Net Amount of Sale
4/22/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Telephone Call to Trinity Re Payoff Followup
4/22/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Follow Up email with Client Re Monthly Operating Reports
4/22/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14         Emails to group re: status.
4/22/2021             VAGNONI, MICHAEL D.    $945.00      2.7     B14         Review/revise Disclosure Statement.
4/22/2021             VAGNONI, MICHAEL D.    $105.00      0.3     B14         Emails to and from counsel to Department of revenue; discuss secured claim.
4/22/2021             SCHMIDT, COLEEN M.     $40.00       0.2     B17         Analyze Court accepted third amended plan of reorganization.
4/23/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Email for Department of Revenue
4/23/2021             SALDUTTI, WILLIAM F.   $442.50      1.5     B7          Analyze March Monthly Operating Report
4/23/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Telephone Call with Trinity
4/23/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B15         Compose Letter Response to Department of Revenue
4/23/2021             VAGNONI, MICHAEL D.    $945.00      2.7     B14         Draft/revise Disclosure Statement; email to group re: same.
4/26/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Edits to Letter to Department of Revenue
4/26/2021             SALDUTTI, WILLIAM F.   $29.50       0.1     B7          Forward Letter to Department of Revenue
4/26/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Examine Letters from Wells Fargo and Forward to Client
4/26/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14         Review/revise letter to department of revenue re: secured claim.
4/26/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14         Telephone call with counsel to Department of revenue re: plan.
4/26/2021             VAGNONI, MICHAEL D.    $140.00      0.4     B14         Phone calls and emails to group re: hearing.
4/27/2021             SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Examine Amortization Schedule from City of Philadelphia
4/27/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Examine Notes on Disclosure Statement and Plan from P. Thurmond
4/27/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Telephone Call/ Voicemail to Trinity
4/28/2021             SALDUTTI, WILLIAM F.   $59.00       0.2     B7          Examine Letter from PNC Re Tackawana
4/28/2021             VAGNONI, MICHAEL D.    $70.00       0.2     B14         Review email from Pamela and emails to and from re: meeting.
4/29/2021             SALDUTTI, WILLIAM F.   $88.50       0.3     B7          Examination of Comments from P. Thurmond on Plan
4/29/2021             VAGNONI, MICHAEL D.    $315.00      0.9     B14         Review/revise Disclosure Statement and exhibits.
4/30/2021             SALDUTTI, WILLIAM F.   $147.50      0.5     B7          Telephone Call to Trinity Re Payoff
4/30/2021             VAGNONI, MICHAEL D.    $490.00      1.4     B14         Draft/revise exhibit and review Plan and Disclosure Statement.
5/3/2021              SALDUTTI, WILLIAM F.   $118.00      0.4     B7          Examine Wells Fargo Notices Re Valley and Church Street Properties
5/4/2021              FALK, TURNER N.        $31.50       0.1     B17         Analysis of wrongful death creditor objection to plan.
5/4/2021              VAGNONI, MICHAEL D.    $665.00      1.9     B14         Revisions to Plan and Disclosure Statement.
5/4/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14         Phone calls to and from Wrongful Death Creditors re: liquidating trust ageement.
5/4/2021              VAGNONI, MICHAEL D.    $140.00      0.4     B14         Phone calls to and from P. Thurmond re: Plan and Disclosure Statement.
5/4/2021              VAGNONI, MICHAEL D.    $105.00      0.3     B14         Telephone call to counsel to Dept. of Revenue re: withdrawal of objection.

5/4/2021              SCHMIDT, COLEEN M.     $80.00       0.4     B17         Analyze objection of wrongful death plaintiffs to third amended plan and disclosure statement.



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Date                  Timekeeper Name        Amount     Hours   Task Code Narrative
5/5/2021              GEORGE, EDMOND M.      $120.00    0.3     B14       Review objections to plan filed by tort parties.

5/5/2021              SCHMIDT, COLEEN M.     $60.00     0.3     B17         Analyze praecipe to withdraw PA Department of Revenue's objection to confirmation of plan.
5/5/2021              SCHMIDT, COLEEN M.     $100.00    0.5     B17         Analyze Wells Fargo's objection to third amended disclosure statement.
5/7/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Notice from wells fargo

5/7/2021              GEORGE, EDMOND M.      $120.00    0.3     B14         Review Wells Fargo notices; conference M. Vagnoni re: plan of reorganization; Pfeiffer objections.
5/11/2021             SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Telephone Call to Trinity Re Payoff
5/12/2021             VAGNONI, MICHAEL D.    $630.00    1.8     B14         Review/revise plan and Disclosure Statement.
5/17/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B17         Analyze PNC Ban's withdrawal of objection to confirmation of plan.
5/18/2021             VAGNONI, MICHAEL D.    $490.00    1.4     B14         Review/revise Disclosure Statement.
5/19/2021             VAGNONI, MICHAEL D.    $315.00    0.9     B14         Draft/revise plan and Disclosure Statement amendments.
5/19/2021             VAGNONI, MICHAEL D.    $245.00    0.7     B14         Review objections to Disclosure Statement.
                                                                            Analyze correspondence from Wells Fargo regarding expiration of payment suspension on 1932
5/20/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B7          Church Street.
5/21/2021             SALDUTTI, WILLIAM F.   $147.50    0.5     B7          Telephone Call to Trinity Re Payoff Update
5/24/2021             SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Examine Letters from Wells Fargo
5/24/2021             VAGNONI, MICHAEL D.    $595.00    1.7     B14         Draft/revise Plan and Disclosure Statement.
5/27/2021             VAGNONI, MICHAEL D.    $490.00    1.4     B14         Review/revise Disclosure Statement.
5/27/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to client re: status; strategy.
5/28/2021             VAGNONI, MICHAEL D.    $210.00    0.6     B14         Phone conference with client re: Plan/Disclosure Statement.
5/28/2021             VAGNONI, MICHAEL D.    $455.00    1.3     B14         Review/revise Plan and Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $315.00    0.9     B14         Revisions to Plan/Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to group re: Plan.
6/1/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to group re: Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $140.00    0.4     B14         Phone conference with client re: plan and Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $595.00    1.7     B14         Draft/reivse liquidation analysis and effective date payments.
6/1/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14         Phone conference with G. conway re: status; plan/Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14         Draft/revise email to J. Goglin re: plan/Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $140.00    0.4     B14         Phone conference with P. Thurmond re: Plan/Disclosure Statement.
6/1/2021              VAGNONI, MICHAEL D.    $245.00    0.7     B14         Phone conference with M. Pfeffer re: Plan/Disclosure Statement.
6/1/2021              SCHMIDT, COLEEN M.     $100.00    0.5     B20         Prepare March 2021 monthly operating report for submission to Court and trustee.
6/2/2021              VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review/revise Plan and draft/revise email to group re: same.
6/2/2021              VAGNONI, MICHAEL D.    $315.00    0.9     B14         Review/revise Liquidation analysis.
6/2/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14         Phone conference with P. Thurmond re: status.
6/2/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to debtor re: plan/Disclosure Statement.
6/2/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise emal to G. Conway re: Plan/Disclosure Statement.
6/2/2021              VAGNONI, MICHAEL D.    $245.00    0.7     B14         Prepare for and attend hearing on Disclosure Statement.
6/2/2021              VAGNONI, MICHAEL D.    $245.00    0.7     B14         Review/revise Disclosure Stateement and email to group re: same.
6/3/2021              VAGNONI, MICHAEL D.    $245.00    0.7     B14         Review email from P. Thurmond and draft/revise changes to Plan / Disclosure Statement.

6/6/2021              VAGNONI, MICHAEL D.    $315.00    0.9     B14         Review/revise plan and Disclosure Statement; review comments from P. Thurmond re: same.
6/7/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from counsel to Class 4 Creditors re: plan.
6/7/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Phone conference with P. Thurmond re: Plan.
6/7/2021              VAGNONI, MICHAEL D.    $315.00    0.9     B14         Review/revise projections.
6/15/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Telephone call to counsel to Wells Fargo re: status.
6/15/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to P. Thurmond re: status.
6/15/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to G. Conway re: Plan and Disclosure Statement.
6/15/2021             VAGNONI, MICHAEL D.    $315.00    0.9     B14         Draft/revise forecast.
6/15/2021             VAGNONI, MICHAEL D.    $945.00    2.7     B14         Review revisions to Plan and Disclosure Statement and revise same.
6/15/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to J. Coglin re: status.
6/16/2021             VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review email from P. Thurmond and modifications to Plan and Disclosure Statement.
6/16/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to G. Conway re: plan and Disclosure Statement.
6/16/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Telephone call to Pam Thurmond re: status.
6/16/2021             VAGNONI, MICHAEL D.    $385.00    1.1     B14         Prepare for and attending hearing on Disclosure Statement.
6/21/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review and respond to email from counsel to Wells Fargo re: status.
                                                                            Prepare April 2021 monthly operating report and all corresponding exhibits for submission to Court
6/22/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B20         and trustee.
6/22/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review MOR and draft/revise email to client re: same.
6/25/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review and respond to email from Wells Fargo re: Plan and Disclosure Statement.
6/29/2021             SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Notices from Wells Fargo
7/2/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review and respond to email from M. Pfeiffer re: status.
7/6/2021              VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review/revise Plan with Pfeiffer edits.
7/6/2021              VAGNONI, MICHAEL D.    $210.00    0.6     B14         Emails to and from group re: hearing.
7/9/2021              SALDUTTI, WILLIAM F.   $88.50     0.3     B7          Examine Notices from Wells Fargo
7/9/2021              VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review Plan and Disclosure Statement and changes to same.
7/11/2021             VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review/revise Plan and Disclosure Statement.
7/11/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to group re: Plan and Disclosure Statement.
7/11/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to client re: Plan and Disclosure Statement.



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7/12/2021             VAGNONI, MICHAEL D.    $420.00    1.2     B14         Phone conference with client re: plan; Disclosure Statement; exhibits.
7/13/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Communications with client re: Disclosure Statement; attachments.
7/15/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review Plan and draft/revise email to Wells Fargo re: alleged arreares.
7/16/2021             VAGNONI, MICHAEL D.    $210.00    0.6     B14         Review/revise Disclosure Statements and exhibits.
7/16/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Phone conference with Mark Pfeiffer re: plan and Disclosure Statement.
7/16/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to client re: Plan and Disclosure Statement
7/19/2021             VAGNONI, MICHAEL D.    $630.00    1.8     B14         Revisions to Plan and Disclosure Statement; exhibits to Disclosure Statement.
7/19/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Emails and telephone call to and from client re: Disclosure Statement and exhibits.
7/20/2021             VAGNONI, MICHAEL D.    $280.00    0.8     B14         Review/revise exhibits to Disclosure Statement and discuss with client.
7/20/2021             VAGNONI, MICHAEL D.    $560.00    1.6     B14         Revisions to Plan and Disclosure Statement.
7/20/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to counsel to Wells re: status.
7/20/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to M. Pfeiffer re: status.
7/20/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to U.S. Trustee re: Disclosure Statement.
7/20/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to Wells re: status.
7/20/2021             VAGNONI, MICHAEL D.    $245.00    0.7     B14         Review comments and draft/revise revisions to plan and Disclosure Statement.
7/21/2021             VAGNONI, MICHAEL D.    $315.00    0.9     B14         Draft/revise exhibits to Plan.
7/21/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Revisions to Plan and Disclosure Statement at request of creditors.
7/21/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to G. Conway re: Disclosure Statement.
7/21/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review MORs; email to client re: same; and email to C. Schmidt re: filing .
7/21/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to M. Pfeiffer re: Disclosure Statement; exhibits to Plan.
7/21/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review MORs and telephone call to C. Schmidt re: same.
7/21/2021             VAGNONI, MICHAEL D.    $735.00    2.1     B14         Prepare for and attend Disclosure Statement hearing.
7/21/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Draft/revise draft order approving Disclosure Statement.
7/21/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draft/revise email to group re: proposed Order approving Disclosure Statement.
7/21/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B20         Prepare June 2021 monthly operating report for submission to Court.
7/21/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B20         Prepare May 2021 monthly operating report for submission to Court.
7/21/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B17         Prepare fourth amended plan for submission to Court.
7/21/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B17         Prepare fourth amended disclosure statement for submission to Court.

7/22/2021             SCHMIDT, COLEEN M.     $40.00     0.2     B17         Analyze order approving disclosure statement and setting time for ballot distribution and voting.
7/22/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review email from P. Thurmond and amend Exhibit B to Plan and reply.
7/22/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review/revise proposed order approving Disclsoure Statement.
7/23/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Email to M. Pfeiffer re: Plan.
7/23/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review ballot and draft/revise email to C. Schmidt re: same.

7/26/2021             SCHMIDT, COLEEN M.     $360.00    1.8     B17         Prepare revised ballot regarding classes of claims and creditors entitled to vote on plan approval.
                                                                            Prepare service list for approved disclosure statement, proposed plan, and corresponding ballots for
7/26/2021             SCHMIDT, COLEEN M.     $100.00    0.5     B17         creditors eligible to vote.
7/26/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Revisions to Exhibit B to Plan and draft/revise email to gorup re: same.
7/26/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Revisions to Ballot and draft/revise email to C. Schmidt re: same.
7/27/2021             SCHMIDT, COLEEN M.     $160.00    0.8     B17         Prepare praecipe to substitute exhibit B to plan for submission to Court.
                                                                            Prepare service list for plan, disclosure, and voting ballots regarding inclusion of all creditors and
7/27/2021             SCHMIDT, COLEEN M.     $480.00    2.4     B17         interested parties, and list of parties to receive ballots.
7/27/2021             VAGNONI, MICHAEL D.    $35.00     0.1     B14         Review praecipe to substitute and draft/revise email to C. Schmidt re: same.
7/28/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B17         Prepare second praecipe to substitute exhibit B to plan for submission to Court.
7/28/2021             SCHMIDT, COLEEN M.     $140.00    0.7     B17         Prepare revised ballot to accept or reject plan.
7/28/2021             SCHMIDT, COLEEN M.     $320.00    1.6     B17         Prepare plan, disclosure, and ballot for service on all required parties.
7/28/2021             SCHMIDT, COLEEN M.     $100.00    0.5     B17         Prepare certificate of service of plan, disclosure, and ballot for submission to Court.
7/28/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review/revise COS for Plan, Disclosure Statement and voting materials.

7/28/2021             VAGNONI, MICHAEL D.    $140.00    0.4     B14         Review email from creditor; amend Exhibit B and emails to M. Pfeiffer and C. Schmidt re: same.
8/2/2021              VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review and respond to email from counsel to Wells.
8/11/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from counsel to PNC re: confirmation.
8/16/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Emails to and from U.S. Trustee re: MORs/quarterly fees.
8/18/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review Philadelphia ballots.
8/23/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review WF Ballots and draft/revise email to C. Schmidt re: same.
8/23/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Review city of Philadelphia ballots and draft/revise email to counsel re: same.
8/23/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Draftrevise email to C. Schmidt re: report of plan voting.
8/24/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review PNC Ballots and Disclosure Statement re: classification.
8/25/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Forward ballots to C. Schmidt and email re: same.
8/25/2021             SCHMIDT, COLEEN M.     $120.00    0.6     B17         Analyze plan voting ballots received from City of Philadelphia.
8/30/2021             VAGNONI, MICHAEL D.    $210.00    0.6     B14         Review ballots and review PNC ballots compared to Disclosure Statement.
8/30/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Telephone call to S. Barngrower re: ballots.
8/30/2021             VAGNONI, MICHAEL D.    $70.00     0.2     B14         Discuss report of plan voting with C. Schmidt.
8/30/2021             VAGNONI, MICHAEL D.    $105.00    0.3     B14         Phone conference with PNC re: status.
8/30/2021             VAGNONI, MICHAEL D.    $175.00    0.5     B14         Review/revise report of plan voting.
8/30/2021             SCHMIDT, COLEEN M.     $500.00    2.5     B17         Prepare report of plan voting and all corresponding ballots for submission to Court.
9/2/2021              SALDUTTI, WILLIAM F.   $118.00    0.4     B7          Emails w Title Agents Re Release of Escrow Funds
9/2/2021              VAGNONI, MICHAEL D.    $105.00    0.3     B14         Review email from Mark Pfeiffer and discuss escrow with Bill Saldutti.



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Date                  Timekeeper Name        Amount        Hours   Task Code   Narrative
9/2/2021              VAGNONI, MICHAEL D.    $70.00        0.2     B14         Review/respond to emails from Bill saldutti regarding escrow amounts.
9/2/2021              VAGNONI, MICHAEL D.    $105.00       0.3     B14         Review objection to confirmation and discuss with Coleen Schmidt.
9/2/2021              SCHMIDT, COLEEN M.     $100.00       0.5     B17         Analyze objection of wrongful death claimants to confirmation of plan.
9/3/2021              SALDUTTI, WILLIAM F.   $59.00        0.2     B7          Emails with Title Agent Re Release of Escrow Funds
9/10/2021             SALDUTTI, WILLIAM F.   $29.50        0.1     B7          Follow Up email with title Agent Re Escrow
9/10/2021             SALDUTTI, WILLIAM F.   $88.50        0.3     B7          Telephone Calls with Title Agent Re Fillmore Funds
9/10/2021             SALDUTTI, WILLIAM F.   $206.50       0.7     B7          Examine emails and documents re Fillmore Escrow funds
9/10/2021             SALDUTTI, WILLIAM F.   $118.00       0.4     B7          Discuss Escrow Status with MDV and Compose Summary
9/10/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Discuss excrows with Bill Saldutti.
9/13/2021             VAGNONI, MICHAEL D.    $490.00       1.4     B14         Draft/revise confirmation order.
9/13/2021             VAGNONI, MICHAEL D.    $105.00       0.3     B14         Emails to counsel regarding confirmation order.
9/13/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Email to client regarding confirmation order.
9/13/2021             VAGNONI, MICHAEL D.    $420.00       1.2     B14         Prepare for confirmation hearing.
9/14/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Emails to and from United States Trustee regarding confirmation order.
9/14/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Telephone call from creditor regarding status.
9/14/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Emails to and from WF counsel regarding hearing.
9/14/2021             VAGNONI, MICHAEL D.    $245.00       0.7     B14         Prepare for confirmation hearing.
9/15/2021             SALDUTTI, WILLIAM F.   $177.00       0.6     B7          Examine and Recalculate Amounts in Escrow
9/15/2021             SALDUTTI, WILLIAM F.   $147.50       0.5     B7          Telephone Call with Trinity Financial Re Loan
9/15/2021             SCHMIDT, COLEEN M.     $60.00        0.3     B17         Prepare proposed order confirming plan for submission to Court.
                                                                               Analyze City of Philadelphia's praecipe to withdraw motion to convert case to chapter 7 and
9/15/2021             SCHMIDT, COLEEN M.     $40.00        0.2     B7          supplemental motion to convert.
9/15/2021             SCHMIDT, COLEEN M.     $40.00        0.2     B17         Analyze order confirming plan.
9/15/2021             VAGNONI, MICHAEL D.    $1,190.00     3.4     B14         Prepare for attend confirmaiton hearing,
9/15/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Telephone call from Mark Pfeiffer regarding confirmation hearing.
9/15/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Draft/revise email to Pam Thurmond regarding confirmation hearing.
9/15/2021             VAGNONI, MICHAEL D.    $70.00        0.2     B14         Email to counsel to PNC regarding status.
GRAND TOTAL                                  $273,932.50   891.1




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